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                                               IN THE UNITED STATES DISTRICT COURT
                                                FOR THE SOUTHERN DISTRICT OF OHIO
                                                         EASTERN DIVISION

TAMARA K. ALSAADA, et al.,                                                        :
                                                                                  :             Case No. 2:20-cv-3431
                           Plaintiffs,                                            :
                                                                                  :            CHIEF JUDGE ALGENON L. MARBLEY
                v.                                                                :
                                                                                  :            Magistrate Judge Kimberly A. Jolson
CITY OF COLUMBUS, et al.,                                                         :
                                                                                  :
                           Defendants.                                            :

                                                                    OPINION & ORDER

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                                          I. INTRODUCTION

        But somewhere I read of the freedom of assembly. Somewhere I read of the freedom of
        speech. Somewhere I read of the freedom of press. Somewhere I read that the greatness
        of America is the right to protest for rights.1

        The document to which Nobel Laureate, Dr. Martin Luther King, Jr., referred is the First

Amendment to the United States Constitution. Unfortunately, some of the members of the

Columbus Police Department had no regard for the rights secured by this bedrock principle of

American democracy. This case is the sad tale of police officers, clothed with the awesome power

of the state, run amok.

        Because cell phones captured last year’s police killing of George Floyd, the world stopped.

Last year’s protests in the aftermath of Mr. Floyd’s death reignited the flashpoint around which

this case revolves—the accessibility and protection of constitutional rights. Dr. King’s words serve

as a reminder that progress is not linear and that history is both a collective diary and a mirror. As

this Court will explore in detail below, the march continues.

        This matter comes before the Court on Plaintiffs’ Motion for a Preliminary Injunction.

(ECF No. 6). Defendants oppose. (ECF No. 10). Plaintiffs are twenty-six individuals who joined

protests or were proximate to protests during summer 2020.2 Defendants are the City of Columbus,

Deputy Chief of Police Thomas Quinlan, Sergeant David Gitlitz, Officer Shawn Dye, Officer

Thomas Hammel, Officer Holly Kanode, Officer Kenneth Kirby, Officer Michael Eschenburg,

and John and Jane Does #1-30—i.e., officers whose identities are not yet known.



1
  Martin Luther King, Jr., I’ve Been to the Mountaintop (April 3, 1968), http://kingencyclopedia.stanford.edu/
encyclopedia/documentsentry/ive_been_to_the_mountaintop.
2
  Plaintiffs are: (1) Tamara Alsaada; (2) Demetrius Burke; (3) Bernadette Calvey; (4) Stephanie Carlock; (5) Andrew
Fahmy; (6) Talon Garth; (7) Randy Kaigler; (8) Rebecca Lamey; (9) Nadia Lynch; (10) Aleta Mixon; (11) Darrell
Mullen; (12) Heather Wise; (13) Mahir Ali; (14) S.L.C., a minor; (15) Jennifer Eidemiller; (16) Holly Hahn; (17)
Bryan Hazlett; (18) Justin Horne; (19) Kurghan Horn; (20) Terry D. Hubby, Jr.; (21) Elizabeth Koehler; (22) Mia
Mogavero; (23) Leeanne Pagliaro; (24) Torrie Ruffin; (25) Amanda Weldon; and (26) Summer Schultz.


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       Pursuant to Rule 65 of the Federal Rules of Civil Procedure, Plaintiffs move for a

preliminary injunction:

       (1) restraining Defendants from using non-lethal force, including tear gas, pepper spray,
       flash-bang grenades, rubber bullets, wooden pellets, batons, body slams, pushing or
       pulling, or kettling, on nonviolent protestors to enforce dispersal orders, traffic laws, such
       as clearing the streets or sidewalks, and/or misdemeanors that were not committed with
       actual or imminently threatened physical harm or property destruction;

       (2) requiring Defendants to recognize that, for purposes of the injunction, “nonviolent
       protestors” includes individuals who are chanting, verbally confronting police, sitting,
       holding their hands up when approaching police, occupying streets or sidewalks, and/or
       passively resisting police orders;

       (3) requiring Defendants to enforce dispersal orders, traffic laws, such as clearing the
       streets or sidewalks, or misdemeanor enforcement, to the extent practicable, through
       citations or arrests, based on probable cause that an individual has committed a violation;

       (4) prohibiting the Defendants from the infliction of pain to punish or deter “nonviolent
       protestors” and limiting infliction of pain on any protestor when incidental to a use of force
       necessary for preventing crimes committed with actual or imminently threatened physical
       harm or property destruction and/or arresting, based on probable cause, an individual who
       allegedly committed such an offense;

       (5) requiring Defendants to ensure that body and vehicle cameras are in good working order
       and used during every interaction with “nonviolent protestors” and badge numbers and/or
       identity cards are prominently displayed in each such interaction, even when riot gear is
       being worn;

       (6) requiring Defendants to recognize that individuals legitimately displaying “press,”
       “media,” “reporter,” “paramedic,” “medic,” “legal observer,” or similar words and/or
       symbols are permitted to be present in a position enabling them to record at protests and/or
       to intervene to assist individuals who appear to have been injured and that all individuals,
       regardless of their occupation or nonviolent activity, are permitted to record at protests or
       whenever any police officer interacts with the public; and

       (7) requiring the City of Columbus (hereinafter “City”) and its Division of Police (“CPD”)
       to request that mutual aid law enforcement personnel cooperating with them adhere to the
       foregoing restraints or standards on the use of non-lethal force and enforcement, infliction
       of pain, cameras and identification, and recognition of “nonviolent protestors” and
       individuals assisting or observing them.

(ECF No. 6 at 1–2).




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        This Court held a preliminary injunction hearing, which lasted from February 22 to March

2, 2021. Subsequently, the parties submitted their post-hearing briefing and replies. (ECF Nos. 59,

61, 63, 64). Defendants oppose injunctive relief, asserting lack of standing, mootness, and a failure

to meet the familiar four preliminary injunction prongs. For the reasons that follow, this Court

GRANTS Plaintiffs’ Motion for a Preliminary Injunction. (ECF No. 6).

                                          II. BACKGROUND

                                        A. The History of Policing

        An 1871 New York Times article on the history of policing wrote: “The personnel of the

force is an excellent one, though there are of course some decided exceptions, as in all large bodies

of men.”3 The history of policing in the United States presents, as history is wont to do,

uncomfortable truths upon which this Court pauses to reflect.

        As the nascent colonies matured, a concerted effort to surveil society’s goings-on

developed. Night watches, constables, and sheriffs were a mix of ad hoc vigilante groups and those

with more institutional legitimacy.4 It was 1631 Boston that created the idea of the so-called Boston

Watch (also known as “The Court”; “Town Watch”; and “citizen Watchmen”). These citizen

Watchmen were organized as a “military guard” to surveil and punish infractions. Everything from

wearing “extravagant boots,” to northeastern Indian tribes engaging in sacred cultural traditions,

to infamous accusations of witchcraft, became punishable at the hands of the Town Watch.5 New

York followed suit in 1845, establishing a police force of 800 men.6 The recruits were told that



3
  The New-York Police, N.Y. TIMES, June 4, 1871, at 8.
4
  Edward H. Savage, A Chronological History of the Boston Watch and Police (from 1631 to 1865) 11 (Boston,
1865).
5
  Id.
6
  See Raymond W. Kelly, Police Dep’t City of New York, The History of the New York City Police Department 5,
https://www.ncjrs.gov/pdffiles1/Digitization/145539NCJRS.pdf. The first reported police shooting took place in 1858
in New York City, when an unarmed Irish immigrant named John Hollis was shot with an officer’s personal firearm
while attempting to flee.


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“the prevention of crime [was] the most important object.”7 And “[b]y the late 1880s, all major

U.S. cities had municipal police forces in place.”8

         In the Antebellum South, formal policing took its earliest form in slave patrols. By 1822,

the slave patrol system in South Carolina was 100-members strong.9 During the 1830s, New

Orleans adopted a militaristic police force to control slaves.10 These slave patrols had three primary

functions: (1) to chase down, apprehend, and return to their owners, runaway slaves; (2) to provide

a form of organized terror to deter slave revolts; and (3) to maintain a form of discipline for slave-

workers who were subject to summary justice, outside of the law, if they violated plantation rules.11

         After the Civil War, chattel slavery ended formally, but the legal and economic subjugation

of Black Americans endured, as slave codes gave way to Black Codes.12 The two codes were so

similar it is a wonder that the copy-and-paste functionality was only invented more recently.13

Confederate defeat also initiated the convict-lease system—which reified the societal

synonymization of blackness with criminality.14 Of course, ratification of the Reconstruction

Amendments, i.e., the Thirteenth, Fourteenth, and Fifteenth Amendments, did not create de jure




7
  Id.
8
  Samuel Walker, Popular Justice, A History of American Criminal Justice 49–80                 (2d    ed.    1998). Olivia B.
Waxman, How the U.S. Got Its Police Force, TIME (May 18, 2017), https://time.com/4779112/police-history-origins.
9
  Walker, Popular Justice at 52.
10
   Dennis C. Rousey, Policing the Southern City: New Orleans 1805−1889 (1996).
11
   Gary Potter, The History of Policing in the United States, Part 1, E. Ky. Univ. Police Stud. (June 25, 2013),
https://plsonline.eku.edu/insidelook/history-policing-united-states-part-1.
12
   See Chelsea Hansen, Slave Patrols: An Early Form of American Policing, Nat’l Law Enf’t Museum, (July 10,
2019), https://lawenforcementmuseum.org/2019/07/10/slave-patrols-an-early-form-of-american-policing (“After the
Civil War, Southern police departments often carried over aspects of the patrols . . . includ[ing] systematic
surveillance, the enforcement of curfews, and even notions of who could become a police officer.”).
13
   Id.
14
   Angela Davis, Policing the Black Man 11, 12 (Pantheon Books 1st ed. 2017) (“Convict leasing, the practice of
‘selling’ the labor of state and local prisoners to private interests for state profit . . . The presumptive identify of black
men as ‘slaves’ evolved into the presumptive identity of ‘criminal,’ and we have yet to fully recover from this historical
frame.”).


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or de facto equity. Rather, Jim Crow laws took the place of the Black Codes—lasting until recently:

1968.15

          In the American West, law officers such as the Texas Rangers committed violence against

indigenous persons, Mexicans, and Mexican-Americans in Texas.16 In California, so-called

“vigilance committees” terrorized Chinese immigrants; some such committees acted with legal

authority, arresting, trying, and eventually executing people.17

          In the North, the development of policing as we know it today was intimately bound up

with the policing of “undesirable” immigrant groups and free or freed Blacks in the swelling

cities.18 In cities like Boston, Chicago, and New York, nineteenth-century police participated in

strike-breaking and perpetrated election fraud in the service of political machines of the day.19

          As history books turned from black-and-white to full color, the role of law enforcement in

society remained fraught. The organizational structure of police departments grew increasingly

dependent on technology such as the two-way radio and surveillance devices. Televisions aired

police barring Black students from integrating Little Rock Central High School; they showed that

peaceful protests for civil rights were met with police violence and arrests, fire hoses, and dog




15
   See Jim Crow Laws, History (updated Mar. 26, 2021), https://www.history.com/topics/early-20th-century-us/jim-
crow-laws.
16
   Jill Lepore, The Invention of the Police, New Yorker (July 13, 2020), https://www.newyorker.com/
magazine/2020/07/20/the-invention-of-the-police (noting that immigration from Ireland and German contributed to
the emergence of urban policing in major American cities).
17
   Id.
18
   See Potter, The History of Policing (observing that one of primary focuses of police in the 1830s and 1840s was the
surveillance of immigrants); Robinson, Black Bodies on the Ground at 555 (opining that “police departments had a
function of controlling immigrants with brute force and brutality”); Lawrence M. Friedman, Crime and Punishment
in American History 66–73 (1993) (recounting the “professionalization” of the system of criminal justice during the
nineteenth century).
19
   Potter, The History of Policing; see also Lepore, The Invention of the Police.


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attacks.20 Riots that erupted after instances of police brutality or discrimination occurred with

regularity in American cities during the 1960s.21

         Technology did not just bring the struggle for equity to those seemingly unaffected by

injustice. It also thrust officer conduct into scrutiny’s spotlight. The 1985 Philadelphia Police

Department bombing targeted a rowhome inhabited by a Black separatist group, killing eleven

people and destroying sixty-one homes (a formal municipal apology came just in 2020).22 The

brutal police beating of Rodney King in 1991—and the acquittal of police officers on all charges

of excessive force—precipitated riots across the United States. The 1993 law-enforcement siege

in Waco, Texas, was broadcast live for weeks on end.

         That brings us to today. Police occupy an interesting role in our societal consciousness.

Children play cops-and-robbers and dream of becoming a police officer when grown. And law

enforcement is an ever-present topic in songs,23 musical theater,24 television,25 and movies.26


20
   Id.; see also Jeremy Gray, Bull Connor Used Fire Hoses, Police Dogs on Protestors, Birmingham News (May 3,
1963), https://www.al.com/birmingham-news-stories/2013/05/bull_connor_used_fire_hoses_po.html.
21
   Potter, The History of Policing.
22
   Lindsey Norward, The Day Philadelphia Bombed Its Own People, Vox (Aug. 15, 2019), https://www.vox.com/the-
highlight/2019/8/8/20747198/philadelphia-bombing-1985-move; John Ismay, 35 Years After MOVE Bombing that
Killed 11, Philadelphia Apologizes, N.Y. Times (Nov. 13, 2020), https://www.nytimes.com/2020/11/13/us/
philadelphia-bombing-apology-move.html.
23
   Hip-hop artist KRS-One’s “Sound of da Police” likens modern-day policing to that of an overseer of the antebellum
south:
          [] Officer, Officer, Officer! Yeah, officer from overseer. You need a little clarity? Check the similarity! The
          overseer rode around the plantation. The officer is off patrolling all the nation. The overseer could stop you
          what you’re doing. The officer will pull you over just when he’s pursuing. The overseer had the right to get
          ill. And if you fought back, the overseer had the right to kill. The officer has the right to arrest. And if you
          fight back they put a hole in your chest! Woop! They both ride horses. After 400 years, I’ve got no choices!
KRS-ONE, Sound of Da Police (Jive Records 1993); see also 2Pac, Trapped (Interscope Records 1991); Rick James,
Mr. Policeman (Motown Records 1981); Gil Scott-Heron, No-Knock (Ace Records 2014).
24
   Javert, the inspector in Victor Hugo’s theatrical version of Les Misérables, acted with impudence and displayed a
total lack of empathy; for example, without any investigation into the circumstances, he adjudged innocent Fantine
guilty without inquiring into the circumstances, stating: “She will answer for her actions when you make a full report.
You can rest assured, Monsieur, that she will answer to the court.” Les Misérables, Fantine’s Arrest, on Les
Misérables: The Complete Symphonic Recording (First Night Records 2004). In the cinematographic adaptation of
West Side Story, Officer Krupke is a perennial thorn-in-the-side of the protagonists, though is hapless and doles out
empty threats. West Side Story (Mirisch Pictures 1961).
25
   The Andy Griffith Show (CBS); Brooklyn Nine-Nine (Fox); Live PD (A&E Network).
26
   The Trial of the Chicago Seven (Amblin Entertainment 2020); Turner & Hooch (Touchstone Pictures 1989); Die
Hard (Gordon Company 1988).


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Despite a shift toward community policing, new dark chapters have been drafted in this

institution’s history books.27 And they continue to be drafted.

                                      B. The Killing of George Floyd

         Against this backdrop, Columbus, Ohio, the United States, and our international neighbors

are fighting dual battles: a horrifying and deadly pandemic and grappling with historical vestiges

and present displays of racial hatred. Neither has a panacea. Both have wrought and revealed

substantial division in our communities. 2020 was a precedent-setting year. Many of us wish we

could erase the year from our minds and calendars. But last year remains indelible, particularly as

it proved a tragic flashpoint between the COVID-19 pandemic and deep-seated racism. Analogous

to how the television brought the Civil Rights Movement into living rooms, cell phones

immortalizing the killings of unarmed black citizens bring these intimate final moments to our

palms.

         On May 25, 2020, George Floyd, a Black American, presented a counterfeit $20 bill at a

convenience store. Police arrived. Moments later, Mr. Floyd showed no signs of life. After Officer

Derek Chauvin kneeled on Mr. Floyd’s neck for approximately nine minutes and 29 seconds, Mr.

Floyd died.28 “I can’t breathe”—a cry for help gasped by an incalculable number of Americans

dying at the hands of government officials, including Mr. Floyd—became an international rallying

cry.29


27
   Today’s stop-and-frisk programs, employed on massive scales throughout American society, may be but a modern-
day version of enforcement of the Black Codes. Davis, Policing the Black Man at 43. Robinson, Black Bodies on the
Ground, at 559 (noting that the Black Code allowed the stopping of Black people in public to search for weapons and
“[i]f a Black [person] refused to stop on demand and was on horseback, the colonist was authorized to shoot to kill”).
28
   Nicholas Bogel-Burroughs, 8 Minutes, 46 Seconds Became a Symbol in George Floyd’s Death. The Exact Time Is
Less Clear, N.Y. Times, June 18, 2020 (“The precise length of time that Mr. Floyd was pinned beneath the officer’s
knee, however, is no longer as exact.”).
29
   Al Goodman, David Goodman & Benjamin Mueller, Beyond the Chokehold: The Path to Eric Garner’s Death,
N.Y. Times, June 13, 2015 (“The chokehold. The swarm of officers. The 11 pleas for breath”); Doha Madani, 2 Ex-
Deputies Indicted on Manslaughter Charge in Death of Javier Ambler, NBC News, Mar. 30, 2021 (“Ambler is also



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        Days after the killing, protests began across the nation, and Columbus, Ohio was no

exception. Most of the demonstrations occurred between May 28 and June 21, 2020, with further

protests on either end of that period in response to deaths of other Americans at the hands of law

enforcement. (ECF No. 1 ¶ 47).

                C. Policies and Procedures of the Columbus Division of the Police

        Before this Court today are protestors desiring to engage in their rights guaranteed by the

Constitution, without fear of retaliation by police officers’ use of tear gas, pepper spray, flash-bang

grenades, rubber bullets, wooden pellets, batons, body slams, pushing or pulling, or kettling.

        The heart of Plaintiffs’ Motion for Preliminary Injunction is that apart from assembling,

chanting, or holding signs in the middle of streets or other locations that Columbus police officers

wanted them to abandon, Plaintiffs were not violating any laws, threatening violence, destroying

any property, or hampering traffic. (ECF No. 6; see also ECF No. 1 ¶ 92). Rather than responding

appropriately to an isolated incident—such as a protestor throwing a water bottle—Plaintiffs allege

that officers engaged in collective punishment by indiscriminately pepper-spraying, tear-gassing,

or shooting wooden bullets at a group of obviously different protestors who had not engaged in

any such conduct; and, what is more, sometimes failed to give audible warnings or adequate time

to disperse before resorting to less-lethal force. (ECF No. 1 ¶ 93).

        The term “less-lethal force” is a term of art that refers to munitions, projectiles, and the use

of physical force that officers might use to restrain or compel movement (but not intended to cause


heard telling the deputies he had congestive heart failure”); Stacia Glenn, Tacoma’s ‘Can’t Breathe’ Case: Manuel
Ellis’ Family Demands Answers After He Was Killed While Being Restrained by Police, Seattle Times, June 4, 2020;
Meagan Flynn, Another Black Man Who Died in Custody Told Officer, ‘I Can’t Breathe.’ One Responded, ‘I don’t
Care.’ Wash. Post, June 11, 2020 (“Officers also suggested aloud on multiple occasions that Scott was only pretending
to be unconscious, only “acting” like he was”); Anita Hassan, When Byron Williams Died Saying, ‘I Can’t Breathe,’
Few Protested. Now His Family Is Fighting for Justice, NBC News, June 18, 2020 (telling officers “I can’t breathe”
at least 17 days before dying); Lee Sanderlin & Michael Hewlett, ‘Help Me,’ John Neville Pleaded, Winston-Salem
J., July 9, 2020 (“The officers didn’t let him go, one of them telling him at least twice “Come on, buddy, if you can
talk, you can breathe,” according to three independent sources familiar with the investigation.”).


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 death). Less-lethal force is intended to create temporary and minimal pain in order “to gain

 compliance, restore order, [or] temporarily incapacitate dangerous persons.” (ECF No. 26-2 at 83).

 Indeed, the Columbus Division of Police (“CPD”) has various policies dictating which of these

 crowd-control tactics officers may use and under what circumstances they may use them.30 This

 Court heard from multiple departmental personnel, including from Mayor Andrew Ginther,

 Defendant Deputy Chief Quinlan, and several officers on the proper use of force and less-lethal

 weapons.31

                                               1. Use of Force Policy

          CPD policies define “use of force” as: “The exertion of energy or the actions of personnel

 in the performance of their duties used to direct or control another’s movements or actions. A use

 of force may be implemented to control resistive or aggressive behavior toward the involved

 personnel, other personnel, third parties, or property.” (Pl.’s Ex. 8 ¶ 1(A) (emphasis added)).32

          To determine if force is authorized in a crowd-control scenario, a 2017 CPD training

 manual instructs officers to “identify[] and isolate[e]” unlawful behavior from lawful behavior.

 (Pl.’s Ex. 12 at 10).33 CPD officers are trained to be “mentally prepared to use force.” (Mabry Dep.


 30
    CPD’s Emergency Operations and the Directives Manuals provide instructions with respect to field force operations,
 including riot gear, civil disturbance tactics, and operating guidelines for riot-control munitions. (See generally Pl.’s
 Ex. 5).
 31
    Witness and Defendant Thomas Quinlan is the Deputy Chief at the Columbus Division, Support Services Division,
 and has been with the division for thirty-two years. He served previously as Chief of the Columbus Division of Police.
 32
    In addition, there are eight levels of force the Division of Police follows. Level 0 is officer presence, verbal, and
 non-verbal commands, flashbangs, baton rounds, and the use of the Long Range Acoustic Device (“LRAD”) warning
 tone; Level 1 is empty hand control, grounding techniques, and joint manipulations; Level 2 is chemical spray; Level
 3 is electronic device, such as a taser; Level 4 is “hard empty hand control,” e.g., strike, punch, kick; Level 5 is use of
 an impact weapon, e.g., baton or flashlight; Level 6 is a police K-9 bite; Level 7 is less-lethal weapons, such as
 beanbags or multiple baton rounds; and Level 8 is deadly force.
 33
    CPD trains lieutenants to use five tactics in crowd-control scenarios: (1) monitor; (2) contain; (3) block; (4) disperse;
 and (5) arrest. (ECF No. 26-2 at 24). To “monitor” is to “[w]atch the crowd’s progress and development . . . [to] gauge
 their intent.” (Id. at 25). To “contain” refers to “[p]erimter control,” and “[c]onsists of restraining a large number of
 individuals within the area, containing any further aggressive activity. (Id. at 26). To “block” amounts to a “[p]hysical
 denial of a crowd’s advance upon an area or facility,” and is deployed via riot formations or barricades. (Id. at 27). To
 “disperse” is to “fragment a crowd,” but officers are warned “that this technique may spread lawlessness rather than



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 at 147). Even seemingly innocent behavior by a demonstrator—e.g., bringing gas masks, oven

 mitts, backpacks, bandanas, or half masks—might conceal unlawful intent. (Pl.’s Ex. 14; ECF No.

 26-3 at 32). Likewise, a 2020 training to new CPD supervisors instructed that not all protestors

 standing with their hands raised are peaceful. And children, the elderly, and individuals with

 disabilities might be used to control the protestors’ message to maximize shock and awe. (Mabry

 Dep. at 164). Signs made with heavy sticks or written or verbal statements (e.g., “Fuck the Police,

 Pigs Must Die”) carry the potential for a violent crowd. (ECF No. 26-3 at 32).

          Other indicia officers are trained to notice are whether the chants are “calm” and

 “structured” (demonstrating “good behavior”) or “erratic,” “excessively loud,” or “not organized”

 (demonstrating “bad behavior”). (Id. (instructing that good behavior is where laws are obeyed; bad

 behavior is where laws are not obeyed)).

                                              2. Chemical Irritants

          Columbus police officers used dispersal irritants, including pepper spray and CS gas (“tear

 gas”), with regularity during the 2020 protests. (Pl.’s Ex. 149 (providing instructions on use); Pl.’s

 Ex. 141 (showing scores of individuals coughing, apparently experiencing the effects of a chemical

 spray); Pl.’s Ex. 126 (officers on bikes, spraying congregants); Pl’s Ex. 110-B (protestors yelling

 “hands up, don’t shoot,” followed by officers spraying the crowd); Pl.’s Ex. 117 (officers

 spraying); Pl.’s Ex. 105 (same)).

          CPD policy on the use of these sprays is memorialized in Directive 2.04, “Chemical

 Intermediate Weapons Regulations,” and subsequent implementing amendments. (Pl.’s Ex. 9).

 The policy requires officers to provide notifications before deploying irritants. Typically, an



 reduce it[,] so it is important to control the escape routes.” Dispersing also includes proclamations, shows of force,
 use of riot formations, and chemical or specialty munitions that are done upon the order of a ranking person. (Id. at
 28).


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 officer should first give three warnings, but, as Deputy Chief Quinlan testified, “[t]hat’s not always

 possible.” (ECF No. 48 at 51). Further, “[t]he notifications should be made in a manner which the

 participants in the crowd should reasonably be able to hear and understand.” (Pl.’s Ex. 16 ¶ 5(a)).

 The use of chemical spray should only “be directed at the persons participating in the violent

 conduct, not at the group in general.” (Id. ¶ 6).

         These dispersal irritants are sometimes deployed by a hand-thrown canister or by direct

 spraying. Pepper spray is deployed through spray canisters or Mark-9 propellant systems designed

 to disperse larger crowds. Tear gas is often deployed through canisters, rolled, thrown, or placed

 near the crowd to-be-dispersed. “The use of a chemical irritant deployed by a gas gun or a chemical

 irritant grenade being thrown or rolled requires the approval of a lieutenant or higher authority.”

 (Pl.’s Ex. 16). After deploying a chemical irritant, law enforcement personnel should “make a

 reasonable effort to decontaminate exposed persons once the situation is under control,” such as

 by flushing the individual’s eyes with freshwater or seeking medical attention. (Id. ¶ 7).

         In the wake of the Columbus protests, Mayor Ginther instructed then-Chief Quinlan34 to

 change departmental policy on the use of force, reflected in Amended Directive 2.04. (ECF No.

 46 at 184). “The changes include prohibiting the use of tear gas to disperse a crowd and prohibiting

 the use of chemical spray to disperse a non-aggressive, non-violent crowd.”35 (ECF No. 10;

 Quinlan Aff. ¶ 14). But the exceptions are significant (and arguably swallow the rule). For instance,

 a key exception allows officers to use chemical irritants to clear a congregation from a traffic way,

 i.e., “every street or highway” that congregants “have no legal right of access to or from.” (Quinlan




 34
    In January 2021, Mayor Ginther demoted then-Chief Quinlan, stating that the latter had lost the faith and trust of
 the community and proved unable to change the culture of the division of the police. (ECF No. 46 at 150).
 35
    On November 11, 2020, Columbus City Attorney Zach Klein and Defendant Chief Quinlan announced “a recent
 policy change issued by the Columbus Division of Police related to the process of arresting and incarcerating
 individuals who commit nonviolent misdemeanors, such as theft or trespassing.” (ECF No. 6 at 18).


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 Aff. ¶ 14 (citing O.R.C. § 4511.01(CC)).36 In addition, the trigger for officers’ use of force is if

 the crowd is violent, aggressive, or resistive. But these terms are not crisply defined in CPD’s use

 of force policy or elsewhere. As Deputy Chief Kuebler explained in his deposition:

          Q. Is there something in the division’s policies that explains what it means for protestors
          who are in the street to be aggressive?

          A. That remains very unclear to us in the division.

 (Kuebler Dep. 148:15-19).

                                               3. Impact Munitions

          Wooden baton rounds, also known as knee knockers, are less-lethal projectiles loaded in a

 rotary gun and are designed to avoid a hand-to-hand scenario. (Pl.’s Ex. 122; Pl.’s Ex. 5). These

 launchers look like a regular assault rifle to the untrained eye, except they fire wooden projectiles

 in a 4.8-inch casing. (See ECF No. 26-2 at 86; Pl.’s Ex. 6). CPD’s grenadier37 trainer John Gagnon

 is responsible for training the officers on how these munitions are deployed. A 40 mm wood baton

 rotary gun fires three wooden pellets at once, while the 37 mm gun fires five wooden pellets. (Id.).

 Since the 40 mm fires two fewer knee knockers than its counterpart, when using a 40 mm gun,

 Officer Gagnon states in a training video: “We just have to fire more of them.” (Pl.’s Ex. 149).

          Under CPD policy, the knee knockers should be skip-fired on the ground in front of

 protestors, from a distance of 30–50 feet, rather than direct-fired. (Pl.’s Ex. 149 (“[W]ith the old

 37 mm, we direct-fired them often . . . But our policy is that they are not to be direct-fired.”); see

 also ECF No. 48 at 21–22 (“[A] weapon that is designed to . . . skip-fire them downrange.”)). The




 36
    An additional change required officers working in civil unrest situations, like protests, to wear traffic vests over
 their riot gears, and mark helmets and vests with badge numbers. The body-worn cameras must be mounted on the
 traffic vest. (Quinlan Aff. ¶ 15).
 37
    A grenadier is an officer “specifically designated for the throwing of grenades and operating less lethal grenade
 launchers and sometimes assault operations. Grenadiers may also often lead entry into a crowd” by using “less lethal
 munitions. (ECF No. 26-2 at 81).


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 skip-fire policy allows for a more effective crowd-control device; as Officer Gagnon noted, direct-

 firing targets an individual, but skip-firing could “hit him, and him, and him, and maybe bounce

 over and deter more people. So, the effective use of this is on the ground, in front of the crowd.”

 (Pl.’s Ex. 149). Next, officers are also trained on where a knee knocker round should be aimed on

 the recipient’s body. (Pl.’s Ex. 149 (stating that the spine and kidney areas should not be

 intentionally targeted; conversely, hard-bony areas like the knees, elbows, and shoulders “could

 cause an injury . . . so [it’s] okay to hit th[ose areas], but we’re not targeting them . . . not trying to

 cause a permanent injury.”)).

                                     4. Bikes, Horses, and Kettling

         Officers also effectuate crowd control dispersals with bikes, horses, or physical shows of

 force. Notably, CPD bike training instructs officers to use bikes as a barrier between the protestors

 and police officers, with the bikes turned sideways. But evidence from the hearing indicated this

 rule was often flouted, sometimes apparently with the go-ahead of a higher-up. (See Pl.’s Ex. 105

 (showing officers riding bikes forward into protestors repeating, “Get out of the road”); ECF No.

 48 at 64; see also id. at 193 (“As multiple protestors began taking over High Street from the east

 sidewalk, they began to close in on the backside of the bike squad, so the squad had to fall back

 and reposition and make a bike barricade at the south side of the intersection across High Street.”)).

                                             D. The Protests

         Here, the protests began in earnest on May 28, 2020, and lasted throughout the spring and

 summer, including June 21 (“The Father’s Day Demonstration”). Witnesses who attended the

 protests characterized the demonstrations as both peaceful and tense. Multiple witnesses testified

 to their physical and emotional injuries suffered at the hands of CPD officers while exercising their

 fundamental rights to assemble and protest. (ECF No. 1 ¶ 17). Others—including officers and a




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 TV reporter witness—testified differently, contending that the use of force matched the threat the

 demonstrators posed. The submitted evidence both supports and undermines these testimonies.

                                    1. Thursday, May 28, 2020

        On May 28, 2020, Plaintiffs and other demonstrators in Columbus gathered downtown and

 throughout the city to generate widespread public attention to past and continuing police violence

 directed overwhelmingly at communities and individuals of color. (ECF No. 1 ¶ 3).

        An incident action plan (“IAP”) “specifies the goals for [CPD] . . . and additional direction

 for the field force units.” (Pl.’s Ex. 2 (citing Weekley Aff. ¶ 3)). The Columbus Division of Police

 did not have an IAP for the first day of protests but made one for the following days. (Pl.’s Ex. 1

 (citing Woods Aff. ¶¶ 4–5)). In addition, the Division received reports that there would be two

 protests the evening of May 28: one at Livingston and Lockbourne and the other downtown. (Id.

 ¶¶ 6–7).

        At the preliminary injunction hearing, Plaintiff Terry Dean Hubby, Jr. testified that he and

 a coworker spontaneously joined the protests on May 28 after getting off of work at a warehouse

 near Livingston and Lockbourne. (ECF No. 48 at 215). Mr. Hubby made a sign with markers and

 poster boards that other protestors had brought—his sign read, “American Refugee,” a term which

 connotes a sense of alienation and foreignness some citizens experience while in their own country.

 (Id. at 217). Mr. Hubby testified that no protestors were blocking traffic, though some

 demonstrated in the street, nor did he observe any conflict between protestors and police. (See also

 Woods Aff. ¶ 7 (“I saw protestors blocking the street. We were able to clear the street with no uses

 of force and no arrests.”)).

        Downtown, crowds were larger, and clashes between congregants and police, more

 frequent. (Id. ¶ 9 (“Because of the scope of the unrest, I ordered more officers downtown and had




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 them put on riot gear.”)). Officer Anthony Johnson testified that he was dispatched downtown

 around 2:00 p.m. (ECF No. 51 at 68 (discussing the atmosphere near Broad and High Street)). He

 recalled an unruly and disobedient crowd, holding signs that said things like, “Defund the police,”

 or “‘F’ the police.” (ECF No. 51 at 69 (recalling orders to disperse were unheeded or answered

 with, “fuck you, and fuck the police”)). Mr. Johnson recalled that protestors surrounded his and

 other officers’ cruisers. (ECF No. 51 at 75). After telling congregants to leave and stop banging

 on the cruiser, the officers deployed the Mark 9, or pepper spray. (ECF No. 51 at 76 (“[A] Mark 9

 is a big canister of pepper spray meant to disperse large crowds”); Pl.’s Ex. 145).38

            Officer Johnson joined a police barricade line at the northern part of the Broad and High

 Street intersection, facing south. It was still daylight. “At this point[,] they got much more violent.

 They began like throwing objects at us[,] such as rocks, bricks, and water bottles. People were

 walking up to us with bottles and opening them and throwing, like, unknown liquids on us, yelling

 in our face.” (ECF No. 51 at 79; see also Woods Aff. ¶ 13 (stating protestors ignored a dispersal

 order, though they had a clear exit)). A senior member of the department ordered officers to change

 into riot gear; the crowd continued to grow; and this standoff continued. (ECF No. 51 at 82; ECF

 No. 50 at 184 (stating May 28 was the first day that SWAT deployed)).

            By 6:00 or 7:00 p.m., “[t]hings were definitely tense,” with a heavy police presence,

 according to witness Kayla Merchant. (ECF No. 49 at 149, 153 (“Mostly it was, you know, just

 people doing general protesting activities.”)). Maxwell Garrison, a student at Ohio State University

 and assistant campus editor of The Lantern, who documented the protest near the corner of Broad

 and High Street, agreed that much of the evening was nonviolent. (ECF No. 49 at 91–92, 94

 (testifying that he arrived around 9:40 or 9:45 p.m. and witnessed three or four water bottles thrown



 38
      Officer Johnson’s body-cam footage, running from about 8:00 p.m.–9:15 p.m. on May 28.


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 from deep in the crowd towards the police officers); see also ECF Nos. 23, 24 (recalling that there

 were a couple of hundred protestors near Broad and High Street by 9:30 p.m.)).

            Bryant Somerville, a Channel 10 WBNS (“10TV”) reporter, arrived at Broad and High

 Street to report on the protests on May 28, 2021.39 He arrived a little after 8:00 p.m. and left around

 12:30 a.m. Friday morning. He described a tense atmosphere with police clad in riot gear and about

 ten feet in front of them, a line of protestors. He testified: “There w[as] chanting[], there w[as]

 yelling, there was a lot of yelling. Raised voices. But as far as the term peaceful protesting goes, it

 was peaceful . . . Everybody has a voice[,] and they were letting it be heard.” (ECF No. 51 at 9).

            The tension rose as the night drew on. Mr. Somerville said that protestors “rows and rows

 deep” threw objects at officers, including bottles of water, jugs of water and milk, shoes, and

 small-grade fireworks, characterizing the throwing as “frequent.” (Id. at 11). Mr. Somerville

 continued, recalling that protestors would sometimes get right in the officers’ faces. (See generally

 Defs.’ Ex. 24 (recording bottles and jugs of water thrown at the police, as well as officers spraying

 the crowd with irritants)). Officers, Mr. Somerville said, showed restraint. (Id. at 12 (“They were

 very, what I would consider, very calm.”)).

            Witness Rachel Wenning recalls demonstrators throwing water bottles toward the police

 at an estimated rate of one per minute. (ECF No. 47 at 147). But most of the water bottles hit the

 ground, another protestor, or flew over the officers’ heads. (Id.). Ms. Wenning did not see any

 water bottle hit an officer without the officer hitting it down first, nor did she observe any visible

 injuries caused by the water bottles. (Id. at 148 (explaining the throwing was not “constant”)). Ms.

 Merchant agreed: though she did not see any behavior from the protestors that would have justified

 the deployment of chemical agents, she did witness a couple of water bottles thrown towards the



 39
      Mr. Somerville took two videos, one on May 28, 2020 (Defs.’ Ex. 24) and another on May 29. (Defs.’ Ex. 25).


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 officers. But, similarly, she did not observe any bottles hit the officers. (Id. at 49; see also Pl.’s Ex.

 122 (showing a water bottle thrown towards the officers, hitting the ground before the police line)).

          Throughout the hour and fifteen minutes that Mr. Garrison, the student journalist, was

 present, he observed that CPD’s “pepper[-]spraying became a bit more frequent. On the protest

 side of it, not much changed.” (ECF No. 49 at 96; ECF No. 47 at 150 (“[T]here were people who

 started to be pepper[-]sprayed by the police.”)). To flee the pepper spray, Ms. Wenning ran from

 Broad and High Street towards the intersection of High Street and State Street, where there were

 40 or 50 protestors in the street and on the sidewalk. Around that same time—between 9:00 or

 10:00 p.m.—Duck Bardus, a volunteer street medic, set up a medic station to treat those injured

 by chemical agents.40 But within twenty minutes, the station itself was sprayed, rendering it useless

 for treatment purposes.

          Closer to 11:00 p.m., there were “hundreds” of people downtown still. (ECF No. 51 at 21).

 Mr. Somerville repeatedly described what he viewed as a game of cat-and-mouse: “These

 protestors would go places[,] and police would respond.” (Id.).

          A troubling video shows an electric scooter hurled from deep in the crowd of congregants

 towards the line of officers around 10:00 p.m. A few police officers blunted the scooter’s impact

 mid-air. (Id. at 95; see also Defs.’ Ex. 26 (showing scooter hurled towards officers at 1:17:10 into




 40
   Duck Bardus is a volunteer street medic—a term used to refer to people who have completed a 20-hour training that
 covers first aid, CPR, and some other tailored training around typical injuries seen in protest environments. (ECF No.
 50 (explaining he typically goes to protests to look for ailments like dehydration, hypothermia, or asthma attacks)).
 Since his certification in 2016, Mr. Bardus has provided first-aid for a range of protestors, including those with whom
 he disagreed politically. (ECF No. 50 at 31 (recalling providing aid at a conservative rally to an individual who was
 face down on the Statehouse lawn)). Mr. Bardus attended multiple days of protest to serve as a street medic; he was
 not there to protest. (ECF No. 50 at 33 (“My red pack is red and says first aid on it. I try to be as loud and obnoxious
 about that as I can [to distinguish himself]”)). Typically, the medics operate in a buddy system, where one is treating
 injured folks, and the other is standing sentinel to assess any incoming dangers.


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 video, followed by officers spraying the crowd with irritants); Defs.’ Ex. 29 (showing officers’

 protest-related injuries, including a May 28 injury from a scooter thrown by a protestor)).41

          Around that same time at Broad and High Street, a surveillance camera video shows a line

 of officers (some with bikes, some mounted on horses, nearly all in riot gear) facing protestors

 who are sitting in the street. (Pl.’s Ex. 113; see generally Pl.’s Ex. 144). An officer, presumably

 with some sort of authority, waves her hand, prompting the others to move the police line forwards,

 now more than a foot away from the sitting protestors. Officers spray the demonstrators’ faces

 with a chemical irritant, causing one individual to crawl away in pain. (Pl.’s Ex. 113; see Pl.’s Exs.

 119, 120, 121 (same)).

          By midnight, a body-worn camera video shows a handful of protestors in the street or on

 the sidewalk at the intersection of West State and High Street. (Pl.’s Exs. 122, 122-A). CPD

 officers stand facing the demonstrators. (Id.). Some protestors shout various invectives at the

 officers; others throw water bottles towards the officers in riot gear, with the visible ones landing

 before the line of officers. Six or seven protestors kneel or stand in the street with their hands in

 the air—in the familiar, “hands up, don’t shoot” position. Four minutes later, an officer throws,

 apparently unprompted, a flashbang device. (Pl.’s Ex. 122). Two men remain in the street after the

 explosion, and officers throw another device. Fifty seconds later, officers say, “knockers,

 knockers, knockers,” and an officer fires wooden projectiles at the individuals remaining in the

 street. Additional riot gear is handed out to officers, and an emergency announcement to leave the

 area sounds.




 41
    Officer Johnson himself was hit with an electronic scooter. (ECF No. 51 at 82 (“The weight and the force of the
 scooter kind of wrenched my arm back resulting in me tearing my rotator cuff and suffering a back sprain and a neck
 sprain”); see also id. at 84 (“[A] majority of the individuals there were not peaceful, meaning they weren’t listening
 to our commands, they were screaming at us, throwing stuff at us and throwing stuff on us.”) (emphasis added); Pl.’s
 Ex. 75 (injury report)).


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             Also, around midnight, Ms. Wenning and other protestors saw the officers line up side-by-

 side with shields, from which she deduced, “they were probably going to come down the street

 and force everyone out of the street.” (ECF No. 47 at 156). Indeed, an officer’s body camera

 footage captured a dispersal order, roughly transcribed as follows: “This is an emergency. The area

 must be cleared. If you remain in the area, you will be subject to arrest, and chemical agents may

 be used against you. You must leave the area now.” (Pl.’s Ex. 122). Mr. Somerville of 10TV said

 that there were multiple announcements over the loudspeakers telling protestors to leave the area.

 (ECF No. 51 at 13).

             After hearing the dispersal order, Ms. Wenning and others walked westward, into an alley

 “to get away.” (ECF No. 47 at 157 (“I was walking away, so I felt I was leaving the area.”)). Once

 she and others got into the alley, she “heard a clink and . . . another like really loud explosion from

 another flashbang that had been thrown into the alley. And that one had tear gas in it because I

 inhaled some of it.” (Id. at 156 (stating that the tear gas was “very thick,” making it difficult to

 “breathe in or out”); see also Pl.’s Exs. 122, 122A (taken at the intersection of State and High

 Street, appearing to show direct-fired projectiles); Pl.’s Ex 122 (showing an officer throwing a

 device into an alleyway near State Street and Front Street)).42

                                                2. Friday, May 29, 2020

             On May 29, the Division of Police changed its staffing levels to a phase-two mobilization,

 with all sworn personnel working 12-hour shifts. (Woods Aff. ¶¶ 21, 26, 30). That day, Deputy

 Chief Quinlan also met telephonically with major city chiefs around the country, including the

 Minneapolis police chief. (ECF No. 48 at 122). Mr. Quinlan stated: “[W]e had information from

 the FBI that people were being paid to create chaos or damage or vandalism or looting . . . . [W]e



 42
      The video also shows a flash-bang device deployed at 4:07 and again at 4:25 against protestors standing in the street.


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 had a meeting with major city chiefs [about] what was occurring all across the country and started

 to get an indication that we needed to be on high alert.” (ECF No. 48 at 122, 127). Officer Ohl, a

 member of the Columbus Division of Police in the SWAT section, recalled that his team was

 dispatched to the protests on May 29 “[t]o support field-force operations.” (ECF No. 50 at 189).

         The evening proved to be a terrible one, with Plaintiff Mixon’s and Plaintiff Hubby’s

 experiences serving as microcosms. Neither Ms. Mixon nor Mr. Hubby was there to create chaos,

 damage, vandalism, or to loot. Yet, both suffered lasting physical and emotional harm. In

 summary, Plaintiff Hubby had his kneecap shattered by a CPD-deployed projectile at State and

 High Street about an hour and a half before Plaintiff Mixon was repeatedly pepper-sprayed and

 had her knee broken by a separate group of Columbus police officers.

                                   a. Plaintiff Terry Dean Hubby, Jr.

         After spontaneously attending the previous day’s protest, Plaintiff Hubby returned to the

 protest—this time, downtown—on May 29 around 8:45 or 9:00 p.m. (ECF No. 48 at 219–20).

 There was not much traffic, and “about a hundred” protestors were “just chanting and holding

 signs.” (Id. at 221–22). Mr. Hubby did not see any destruction of property, violence, or vandalism.

 A video he recorded shows what happened subsequently. Plaintiff Hubby is walking along the

 sidewalk of State Street and High Street. (Pl.’s Ex. 133). All the sounds characteristic of a modern-

 day protest are present: honking, screaming, yelling, and sirens. Plaintiff Hubby approaches the

 corner and stands on the sidewalk. Shortly after reaching the corner, he is struck and injured by a

 projectile. (Id.).

         The timing is critical.

         The video reveals that the police begin to shoot less-lethal projectiles while the CPD loud

 system sounds a dispersal order. In other words, there was no time for protestors to react. (ECF




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 No. 48 at 226–27 (stating that only Plaintiff Hubby heard a dispersal announcement after he was

 hit)). The projectile rendered Plaintiff Hubby unable to stand. (Id. at 225–26 (“It kind of felt like

 a hammer or like a steel bat or something was hitting it . . . [My knee] was broken into many little

 pieces . . . It kind of looked like a puzzle.”)). A group of twelve Good Samaritans, strangers to

 Plaintiff Hubby, dragged him around the corner, out of the way of the raining munitions. (Id. at

 233 (“Q. How could you tell they were still shooting? A. Because you could hear the shots.”)).

 The protestors-turned-medics fashioned a splint for Mr. Hubby’s knee before obtaining a rental

 bicycle and transforming it into a gurney so that he could be transported without over-exerting his

 knee. (Id. at 234 (“As they were running, a helicopter was following us.”)).

        Eventually, Mr. Hubby was transported to the hospital and had surgery, resulting in twenty

 pins and a plate in his knee. Plaintiff Hubby, a 31-year-old man, no longer can walk more than a

 half-mile without significant pain—an improvement from his condition for the first four to five

 months post-shooting, when he was unable to walk at all. His knee swells regularly. His balance

 suffers. (Pl.’s Ex. 77 (containing photographs from February 2021 of injury)). As to whether

 Plaintiff Hubby would attend a future protest, he answered: “No sir . . . I just don’t think it’s a

 good idea now.” (ECF No. 48 at 38).

                                      b. Plaintiff Aleta Mixon

        Plaintiff Mixon, a patient support assistant, traveled to the vicinity of the Statehouse in the

 evening, around 9:00 p.m. (ECF No. 47 at 58). She was not there to protest. Instead, she was

 attempting to locate her daughter, a 21-year-old who joined the demonstrations. Plaintiff Mixon

 approached a female officer in riot gear, asking if the officer would assist her in locating her

 daughter. Plaintiff Mixon recounted the following:

        Q.      Okay. You mention you saw a female officer. Did you approach her?




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        A.      Yes, sir, I did . . . I noticed that there was a female officer that was in riot gear. She
        had one of the helmets on[,] but her face shield was raised up. And her fade was blond[,]
        kind of like mine. So[,] I approached her[,] and I asked her if she could assist me with
        helping me find my daughter. The female asked me did I know where she was located, and
        I told her the last location of me speaking with her was on Broad and High, on the corner
        of Broad and High Street.

        Q.         So[,] what happened after . . . .

        A.      Before the conversation could continue, I noticed that someone was coming up
        from my left side . . . I noticed that it was a male officer that sprayed me with mace as I
        slightly turned my face. And I began to ask why did he do that. I could hear the female
        officer say . . . why the fuck did you do that? She was just asking for help. She was asking
        me to help her find her baby. She just wanted help finding her daughter.

        Q.         Okay. [T]ell us what happened next.

        A.      Then the officers started to -- the female officer eventually left with her colleagues.
        I didn’t see her or hear her anymore. And the male officers then began to ask me to leave.
        And I just was very concerned with finding my daughter. So, as authorities, I thought they
        would assist me in helping me find my daughter. So[,] I just was very concerned and asking
        the male officers if they could help me find my daughter, that I repetitively said that I just
        wanted to find my baby. And I was not there, for the record, to protest at all. I just wanted
        to find my daughter.

 (Id. at 67–68).

        This treatment worsened. She kept seeking help, but the officers “seemed to not care . . .

 They told me to leave. They just kept telling me to leave. Eventually I was beginning to . . . leave

 as one of the male officers pushed me.” (Id. at 70). She continued to try to depart the area, an effort

 which officers continued to thwart. Near West Broad Street and High Street, Plaintiff Mixon

 recalled:

        [O]fficers were – they were following me and just telling me to leave as I was already
        walking and leaving. So[,] I turned around just to tell them like I was just wanting help in
        finding my daughter, I just wanted to find my baby, that’s it; I wasn’t here to protest. And
        as I was walking, one of the officers sprayed me from behind again [hitting the right side
        of her face]. I proceeded to run into now the street on West Broad Street[,] where there
        w[ere] several officers. And I began to run to them screaming for help. And as I was
        running screaming for help, I kind of like ran through because I saw -- I ran through the
        crowd of officers screaming for help. As I was screaming for help, I began to scream[,] I’m
        leaving. So[,] I was telling the officers I was leaving.



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         [After being sprayed a second time,] I noticed that the officers w[ere] chasing me . . . So[,]
         I let them know I was obeying their commands. So[,] I ran back to the sidewalk.

 (Id. at 71–72 (emphasis added)). The second spraying was painful. Her eyes burned, and her vision

 blurred. She was unable to continue her search for her daughter. She sat down on the sidewalk,

 between High Street and Third Street, screaming for help. She discerned two officers were walking

 towards her in riot gear; she hoped help was on the way at last. Instead, CPD officers sprayed her

 again—now, for the third time. (Id. at 73).

         Immobilized on the street curb, she tried to stand up. But this awful tale was still far from

 over:

         And one of the officers pushed me down so hard off the curb. And once again, pardon my
         language, Your Honor, and members of the court, he stomped on my kneecap, my left
         kneecap, and stated to me, That’s what you get for being down here, you black, protesting
         bitch.43 That’s what the fuck you get for being down here, you black protesting bitch . . . .

         I began to scream, You broke my leg – that he broke my leg, basically, because I felt a snap
         and intense pain. It happened so quickly that the next thing you know, I was getting
         snatched back up onto the sidewalk[,] where people began to try to help me walk and get
         away.

 (ECF No. 47 at 74–75).

         A 22-second video introduced at the hearing shows a portion of these events. (Pl.’s Ex.

 101). In it, Plaintiff Mixon is shown near two or three officers. She walks away. The individual

 recording provides narration of increased urgency: “This lady has done nothing. This lady has

 done nothing. They have done nothing wrong.” (Id.). At this point, Plaintiff Mixon is pepper-

 sprayed while walking away from the officers, stumbles into the street while an officer continues

 in pursuit. The narrated video continues: “They have done nothing wrong. They did nothing wrong.

 Are you kidding me?” (Pl.’s Ex. 101).


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   There was some ambiguity as to whether the officer said, “you black bitch” or if he omitted the word “black.”
 (Compare ECF No. 47 at 74, with id. at 99). Either way, that statement is atrocious.


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        A body camera video shows the same events, timestamped at 10:08 p.m. (Pl.’s Ex. 147).

 Plaintiff Mixon approaches the officers, yelling repeatedly and unmistakably that she is trying to

 find her daughter—imploring that they help. An officer shakes a can of chemical spray as Plaintiff

 Mixon draws near. A separate officer pushes her away. While Plaintiff Mixon tells the body-

 camera-wearing officer, “I just want to find my daughter. I don’t think all officers are bad,” a

 separate officer comes and pushes her away again. (Id.).

        Approximately one minute into the body camera video, Plaintiff Mixon is heard screaming

 after being sprayed from behind. The officers continue east on Broad Street, spraying individuals

 who are standing still or walking away from them. Approximately 2 minutes and 5 seconds into

 the video, Plaintiff Mixon can be seen and heard falling from the sidewalk into the street. An

 officer to her left then sprays her with chemical spray while she is on the ground and pushes her

 from behind as she attempts to stand. The officer whose body-worn camera is recording walks past

 Ms. Mixon as she states that her leg is broken and asks for help. He returns at approximately 3

 minutes, 20 seconds into the video as Plaintiff Mixon is speaking to another officer, Officer Frank

 Leeman, who is assisting her with her injuries.

        Plaintiff Mixon is heard, pleading, while surrounded by officers:

        I don’t want to die. I don’t want to die. I don’t want to die. I just came to find my daughter
        . . . I don’t want to die. I don’t want to die. I don’t want to die. Please, Frank, don’t let me
        die. Please, Frank. Please, Frank, Please. Please, Frank. I can’t see. Please help me . . .
        Frank, Frank, I can’t see, Frank. I don’t think all officers are bad . . . Please. Please . . . I
        just came to find my daughter.

 (Pl.’s Ex. 147). Plaintiff Mixon never located her daughter. But, she recalls: “[S]omehow she

 ended up finding me.” (ECF No. 47 at 81). Ms. Mixon was then taken to the hospital, where she

 had emergency surgery on her knee and was hospitalized for five days. (Pl.’s Ex. 73 (showing her

 scar)). Whether she would attend, or perhaps, more accurately, be in the vicinity of a protest again,




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 Ms. Mixon testified that she would not: “If I wasn’t afraid of police officers before, I’m nervous

 about them now.” (ECF No. 47 at 89).

                                   c. Other Events on May 29

        Elsewhere on May 29, there was, indeed, the sort of chaos and vandalism that then-Chief

 Quinlan feared. Testimony from CPD officers evinced their difficulty in controlling a growing

 protest. Officer Johnson arrived during daylight on May 29 to a “much more organized” crowd

 “with like fatigue-style clothing, tactical-style clothing on, backpacks full of, like, items with

 frozen water bottles now, meaning they went downtown with frozen water bottles, chunks of rocks

 in their backpacks, gas masks.” (ECF No. 51 at 90). SWAT-team member Officer Ohl recalled

 arriving downtown around 9:00 or 9:30 p.m., where individuals were graffitiing the Ohio Supreme

 Court building. (ECF No. 50 at 188 (testifying those individuals ran away when the officers turned

 their lights and sirens on)). Commander Smith Weir testified to the looting from that evening.

 (ECF No. 52 at 129).

        Mr. Somerville of 10TV arrived downtown around 5:30 p.m. and departed at 8:00 p.m. He

 recalled seeing protestors throwing objects at the police and officers pepper-spraying the crowd

 near Broad and High Street. (ECF No. 51 at 29). Mr. Somerville testified at the hearing:

 “[A]nytime I saw pepper spray used, it was as a measure to control the crowd[,] and it was not

 unwarranted.” (Id. at 30). Yet, in his video from the day prior, he is recorded saying: “Oh, wow,

 we’ve just been pepper[-]sprayed for no reason.” (Defs.’ Ex. 24 (at 46:29)).

        In terms of which came first—protestors throwing items towards police or police spraying

 protestors with irritants and munitions—the record is mixed.

        Commander Weir testified that the use of crowd-control devices followed protestor-

 involved violence: “[N]othing would happen when they weren’t throwing things and objects,




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 whatever. But obviously[,] at different times[,] there would be objects thrown at our officers, and

 that’s when we would authorize the use of mace to move the crowd or try to disperse the crowd . . .

 [I]f the crowd is being peaceful, we’re not using mace.” (ECF No. 52 at 131–32). Mr. Somerville’s

 recordings also show numerous standoffs between police and protestors, each with a familiar

 pattern of congregants throwing objects (water bottles or milk jugs, and rarely, fireworks) and the

 police engaging in direct and indiscriminate firing of munitions and chemical irritants. (Defs.’ Exs.

 24, 25). Other times, the timing was reversed: “Every time [the officers] spray, more and more

 bottles come their way.” (Defs.’ Ex. 24).

        Other evidence points towards the department’s reflexive reliance on pepper spray. A

 body-worn camera video that evening shows a CPD supervisor stating to the officers that “the

 group at Broad and High is going to move. They’re not going to stay there . . . Tell them to move

 . . . We are going to move them by any means necessary⸺reasonably necessary. Everybody got

 that? Get your mace ready.” (Pl.’s Ex. 123-A).

        There were multiple other instances of the use of less-lethal tactics without apparent

 provocation. One video shows a SWAT officer deploying chemical spray against two people

 standing on the sidewalk, who appear to be recording the officers on their phones. (Pl.’s Ex. 107).

 A body-worn camera at the corner of Broad and Front Street shows a supervisor directing officers

 that they will use a Mark-9 chemical spray against the protestors nearby “on the bang,” i.e., once

 an officer activated a noise signal. (Pl.’s Exs. 110-A, 110-B, 123-C). A video at the intersection of

 Broad and High Street shows an officer throwing a dispersal device into protestors standing in the

 street; much of the crowd flees, and two additional munitions follow. (Pl.’s Ex. 115; see also Pl.’s

 Ex. 116 (throwing an explosive device towards protestors holding signs)).




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         The same group of officers who were told to “get [their] mace ready” at roll call are now

 mounted on bikes, riding into individuals standing on the sidewalk while screaming at them to

 “move.” (Pl.’s Ex. 123-B). The body-camera-wearing officer sprays chemical irritants at random,

 hitting individuals standing peacefully on the sidewalk—and then yells, “clear the area!” (Id.).

 Some sprayed individuals have their hands up and are asking why they are being sprayed. All of

 these individuals were standing on the sidewalk. (Pl.’s Ex. 123-B; see also Pl.’s Ex. 123-C

 (explosive devices and large amounts of chemical spray); Pl.’s Ex. 110-B (same event); Pl.’s Ex.

 125 (throwing a grenade across Broad Street toward the sidewalk, while another officer deploys

 chemical spray at a car); Pl.’s Ex. 126 (spraying protestors directly in the face with chemical

 irritants)).

         Plaintiff Torrie Ruffin, a special education teacher’s assistant, summarized the night of

 May 29 well: “[T]here was peaceful protesting going on, there was some police aggression and

 some police push towards the protestors. And the situation turned, I guess, chaotic or dangerous.”

 (ECF No. 46 at 125 (summarizing her friends’ recounting)).

                                     3. Saturday, May 30, 2020

         On May 30, Governor Mike DeWine called in the National Guard; Mayor Ginther declared

 a State of Emergency and instituted a 10:00 p.m. curfew. (Quinlan Aff. ¶ 7). The tension of the

 last two days continued. (Pl.’s Ex. 103 (officers firing projectiles, striking individuals); Pl.’s Ex.

 104 (bowling tear gas canister into crowd); Pl.’s Ex. 108 (spraying kneeling individuals on May

 30 or 31); Pl.’s Ex. 112 (spraying irritants directly at individuals who are fleeing a prior

 deployment of spray); Pl.’s Ex.117 (similar); Pl.’s Ex.118 (similar); Pl.’s Ex. 114 (similar,

 including against a woman using a mobility device); Pl.’s Exs. 136, 137 (similar, including

 spraying those fleeing or turning to flee); Pl.’s Ex. 127 (officers on horses deploying tear gas, with




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 others spraying individuals on sidewalks); Pl.’s Ex. 141 (recording High and Broad Street in the

 afternoon, showing scores of individuals coughing, evidently fleeing the deployment of a chemical

 irritant); Pl.’s Ex. 142 (firing projectiles at crowd on street and sidewalk, with a videographer

 tackled by an officer); Pl.’s Ex. 42 (using bicycle to shove woman who has been yelling, and then

 using chemical spray against her)).

         In one of the more shocking series of events, an officer grabs a man’s gas mask off of his

 head from behind, while, notably, the man was walking away. The man reacts and fights back;

 other officers tackle him to the ground. (Pl.’s Exs. 127, 128, 138).

         At 12:10 p.m., a body-worn camera shows the officer who grabbed the gas mask off of the

 individual’s head celebrating; he fist-bumps another officer and giggles gleefully: “I took his mask

 off . . . He didn’t like it.” (Pl.’s Ex. 138).

         This Court heard similar stories from other witnesses and Plaintiffs present on May 30,

 reviewed below.

                                       a. Plaintiff Summer Schultz

         Plaintiff Summer Schultz, a master-maker artist, attended the protests on High Street,

 around 10:30 a.m., with her wife, Leanne, and friend, Tori. (ECF No. 49 at 118). The atmosphere

 was “beautifully painful,” with an overwhelming sense of community. (Id. at 119). Law

 enforcement presence was large and included rooftop sharpshooters, bicycle officers, and “[a]rmy

 Reserve or military people.” (Id. at 120).

         The trio listened to speeches on the lawn at the Statehouse before hearing “people

 screaming.” (Id. at 121–22). Ms. Schultz, who has sensitive lungs, started coughing and deduced

 that officers began spraying some sort of chemical irritant. She does not recall any comprehensible

 order to disperse, but only a “muffled” speaker atop a “Hummer-looking police vehicle.” (Id.). In




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 memorable language, Plaintiff Schultz describe the speaker as sounding “a lot like how Charlie

 Brown’s phone conversations sound. We couldn’t make it out.” (Id. at 141; see also id. at 123

 (“[A]ll the protestors were looking at each other like[,] what did they say, did you hear that . . .

 And nobody could make it out”)).

         Though Plaintiff Schultz noted no hostile protesting, she was hit by the first of what would

 be three sprayings of a chemical irritant. (ECF No. 49). Soon thereafter, Plaintiff Schultz was

 standing in Broad Street, and officers deployed another two rounds of spray, at least one of which

 hit her in the face. (Id. at 127 (“Like split second, as soon as you open your eyes, it burns.”)). It

 was then that Plaintiff Schultz was struck with some projectile—which turned out to be a knee

 knocker—bringing her to the ground. (Pl.’s Ex. 67 (showing injury)).

         Plaintiff Schultz did not attend any more protests afterward. She “was very scared to go

 back.” (ECF No. 49 at 133). Instead, she offered her support to the protests in other ways, such as

 having conversations with people or dropping off water to demonstrators. (Id.). When advising her

 friends on whether to attend protests, she “urged them against it.” (Id.).

                                        b. Plaintiff Torrie Ruffin

         Plaintiff Torrie Ruffin and a few friends attended the protest downtown just after 10:00

 a.m. (ECF No. 46 at 105 (“It was a very peaceful, powerful moment.”)). Later, she and her friends

 joined a sit-in protest in the street, by the intersection of Broad and High Street, chanting, “this is

 a peaceful protest.” (Id.). Two or three officers came by with mace and sprayed the faces of the

 sitting protestors, hitting Ms. Ruffin. She received no order to leave the street. (Id. at 111). Plaintiff

 Ruffin fled to cleanse her eyes, face, and throat from the spray.

         Later that day, Ms. Ruffin and other demonstrators stood in a crosswalk chanting, linked

 arm-in-arm. (Id. at 110). Bicycle officers arrived “to actually push and physically move us to the




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 side to allow more officers to come in . . . And then there was another mass spraying of pepper

 spray into the protestors’ faces.” (ECF No. 46 at 110–11).

        She did not observe any physically aggressive behavior from the protestors preceding

 either spraying.

        At some point that day, Plaintiff Ruffin recalled sitting on a curb when horse-mounted

 officers started walking through the crowd; officers in riot gear placed things in the middle of the

 street before running away. “And then there were . . . smoke bombs that ended up going off.” (ECF

 No. 46 at 116 (explaining that officers also threw smoke bombs onto the sidewalk)).

        Plaintiff Ruffin testified that she observed a young woman who was recording while talking

 to a bicycle officer; the officer sprayed the woman with pepper spray “directly point-blank in the

 eyes. She turned for a second. She came back up and said something to him[,] and he sprayed her

 point-blank in the eyes again.” (Id. at 116). A similar event occurred moments later. She saw a

 man with a gas mask “calmly walking” away. (Id. at 117). “And there’s an officer that ran from

 behind him, ran up to him, seemingly hit him on the head, pulled his mask off and then took pepper

 spray and was spraying into his mask, into the guy’s face.” (Id. at 117). A police truck then drives

 by, ordering the congregants to leave the area.

                                     c. Plaintiff Bryan Hazlett

        Plaintiff Bryan Hazlett attended the protest to accompany a friend around 7:30 p.m. Upon

 arrival along High Street, he noted a “quite peaceful” crowd; “just a bunch of people standing

 around, hands up, don’t shoot chants, stuff like that.” (ECF No. 49 at 51; id. at 53 (“When we first

 got down there, there was really nothing much going on, just a wall of police.”)). As the hour drew

 on, officers “started firing wooden bullets,” prompting protestors to get “plywood to protect

 themselves from said wood bullets and tear gas canisters.” (Id. at 53; Defs.’ Ex. 52 (same); ECF




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 No. 49 at 61 (stating the knee knockers were “everywhere” on the ground)). Some protestors threw

 water bottles at officers, but Mr. Hazlett did not observe any other objects thrown. In addition, a

 “piercing siren,” ordering protestors to disperse, was sounding. (ECF No. 49 at 60). Mr. Hazlett

 said he was unsure why there was a dispersal order, as the protest was primarily peaceful and there

 was no effective curfew. Nevertheless, he entered the street to reunite with his friend (she had gone

 into the street to protest earlier); he intended to depart afterward.

         But, as Plaintiff Hazlett enters the intersection of Russell Street and High Street, a video

 shows CPD officers chasing several individuals and body slamming them to the ground, including

 Mr. Hazlett; an officer also sprays him with a chemical irritant. (Pl.’s Exs. 135, 139). Mr. Hazlett

 provides a summary of what transpired:

         I was tear[-]gassed. That was painful. And then I got hit by the police officer, dropped to
         the ground. That was extremely painful . . . I curled up in the fetal position to protect my
         face and then to which the officer said[,] give me your arm[,] and then another officer
         circled back around, tear[-]gassed me again, and at that point[,] I had given up my arm[,]
         and then they basically were just kneeing me and elbowing me and shoving my head into
         the ground and then they zip[-]tied my hands behind my back. My leg was bleeding. My
         face was burning. That was about it.

 (ECF No. 49 at 68). Mr. Hazlett was then arrested. (Id.).

         Whether Mr. Hazlett would attend another protest: “I don’t think I would . . . It was a

 horrible experience.” (Id. at 72).

                                 d. Witness Michael Andrew Moses

         Witness Michael Andrew Moses attended the protests on May 30 around 9:00 p.m.

 “[S]onically,” he recalled, “it was an overwhelming environment.” (ECF No. 46 at 32). There was

 about a half-football-field buffer between the officers, clad in armor and holding shields, and the

 protestors. (Id. at 32). While the scene was largely peaceful—and he did not observe protestors

 throwing any bottles, rocks, or other items—the atmosphere was “chaotic.” (Id. at 33). Mr. Moses




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 heard a “garbled” and “muffled” bullhorn command. (Id. at 32, 37, 58). Other protestors gestured

 to the confused congregants that the police wanted them to start moving north. Minutes after

 moving north, Mr. Moses was surprised to almost immediately feel two projectiles of some kind

 hit him in quick succession: one on his left ribs and the other on his back. He ran away from the

 scene to a coffeeshop doorway. He “heard a whole lot of boots marching directly their way,” and

 Mr. Moses was grabbed by his right wrist and arm, forced down to the ground, hitting his face and

 right shoulder. (Id. at 36). He was cuffed, put into a vehicle with a handful of other seized

 individuals, and went through processing at Jackson Pike Corrections Center. (Pl.’s Ex. 65

 (showing his injuries)).

         As to whether he would attend a protest again: “In general, no.” (ECF No. 46 at 44).

                                      e. Plaintiff Bernadette Calvey

         Plaintiff Bernadette Calvey, a nurse’s assistant, attended the protest in the Short North area

 with her friend, arriving around 9:00 p.m. at the intersection of High Street and Second or Third

 Street. (ECF No. 46 at 61–62 (“Protestors were yelling or chanting Black Lives Matter or specific

 names . . . [officers] were in riot gear lined up across the street.”)). At this point, Plaintiff Calvey

 was standing on the sidewalk and had not yet even joined in the actual protest. (Id. at 63 (“I

 was . . . there for a very short period of time . . . I hadn’t joined the protestors . . . I didn’t step into

 the street where the other protestors were. I was just observing from the sidewalk.”)).

         Though Plaintiff Calvey did not observe any protestor-police confrontations, she noticed

 police officers shouting; CPD personnel then fired projectiles at demonstrators at close range. (Id.

 at 62). Ms. Calvey, still on the sidewalk, was struck in the face by a projectile, a wooden pellet,

 which split open her chin. (Id. at 64 (“It hit me directly like dead center on my chin.”)). A white

 powder also exploded, which temporarily blinded her. She and others fled into an alley, at which




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 point she heard a police bullhorn order the protestors’ dispersal. (Id. at 237). She did not hear any

 announcement to leave before she was struck in the face. (Pl.’s Ex. 132 (video); Pl.’s Ex. 62

 (picture of chin injury); Pl.’s Ex. 55 (police report)).

         Whether Ms. Calvey would attend a protest again: “I would definitely be hesitant. This was

 my first protest, and I was there for less than five minutes and ended up getting shot in the face . .

 . but I don’t want to say I would never attend one again because I don’t want to be scared off.”

 (ECF No. 46 at 73).

                                       f. Plaintiff Nadia Lynch

         Plaintiff Nadia Lynch, a billing and savings analyst, joined the protests near the Statehouse

 in the morning, around 10:45 or 11:00 a.m., with her sister. She testified to the protestors’ “unity”

 and “lifted spirits.” (ECF No. 48 at 181). Closer to noon, Plaintiff Lynch was walking toward the

 sidewalk at High and Broad Street when an officer pulls her by her backpack, tackles her to the

 ground, and arrests her. (Pl.’s Ex. 148; ECF No. 48 at 182 (“I couldn’t tell you the reason I was

 arrested. And as soon as I went down, I didn’t know what crime I had committed”); Pl.’s Ex. 71

 (arrest sheet)). And she testified that she did not hear any instruction to disperse from the traffic

 way prior to being arrested. (ECF No. 48 at 189–90). Plaintiff Lynch was then placed in what she

 described as “a paddy wagon,” was taken to a police substation where she and others were zip-

 tied, sat outside in the sun for five to six hours, and then transported on a sheriff’s bus to Jackson

 Pike Corrections Center for slating, sitting in a holding cell for about half an hour or so. (Id. at

 187). She did not attend any more protests after her arrest. (Id. at 199).

                                    g. Plaintiff Stephanie Carlock

         Plaintiff Stephanie Carlock traveled to the protests downtown around 4:00 p.m. (ECF No.

 49 at 185). By 5:15 p.m., she and others were standing arm-in-arm in the High Street crosswalk,




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 facing south; the police were standing in front of that group, with just a three-foot separation

 between the groups. The officers “in sync all reached for their pepper spray” and sprayed the

 protestors “point-blank in the face,” causing “[a] really intense burning pain.” (Id. at 191). She

 retreated to the sidewalk, pouring milk into her eyes to ease the pain. A dispersal announcement

 sounded, “[b]ut then a moment later[,] [officers in riot gear] started throwing tear gas canisters,”

 causing Plaintiff Carlock and others to retreat further south towards the Statehouse. (Id. at 193).

 She observed some protestors throwing water bottles towards police officers, prompting other

 protestors to urge them to stop.

        Later, she and other demonstrators sat in the road as a form of protest at the intersection of

 Fifth and Broad Street. (Id. at 197). An officer told them to get out of the street and onto the

 sidewalk, so some of the group, Plaintiff Carlock included, stood up and dispersed to the sidewalk.

 But some of the horse-mounted officers “started pushing into the crowd . . . physically [running]

 into some of us.” (Id.). The demonstrators’ questions of what to do—now that they had complied

 with the order to disperse from the street—went unanswered. Instead, the officers “herded” the

 group south, where they met another line of officers blocking the street, thus trapping the

 protestors. (Id.). Officers then threw a tear gas canister at the group on the sidewalk, and “it was

 almost impossible to get out of that spot we were in.” (Id. at 199). The protestors fled toward the

 only point of egress: an alleyway in which a delivery truck was parked, thus allowing for a

 bottleneck of one person at a time to squeeze through. (ECF No. 49 at 201 (“They hadn’t

 communicated anything after they said to get up on the sidewalk despite us asking what they

 wanted us to do. They didn’t provide any further instruction.”)).




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        Ms. Carlock attended additional protests in late summer and early fall, including a

 “gathering of remembrance” for Breonna Taylor, a 27-year-old Black medical worker who was

 shot and killed in her own apartment by Louisville, Kentucky police.44 (Id. at 213).

                                      4.   Sunday, May 31, 2020

        Lea Pagels, an investigator and litigation specialist at the Ohio Public Defenders, attended

 most days of last year’s protests, including May 31, as a legal observer for the National Lawyers

 Guild. (ECF No. 49 at 4). She testified to seeing police use force against protestors “[u]nder a wide

 range of circumstances. I saw them use chemical weapons, bicycles, fists, flashbangs on people on

 sidewalks, on streets, in groups, alone.” (Id. at 5). The most common less-lethal dispersal technique

 she observed was pepper spray, followed by knee-knockers. “And then more increasingly

 throughout the summer[,] I saw [officers’] bicycles being used as weapons.” (Id.). Although she

 testified to mostly peaceful crowds, she recalled bottles of water thrown. (Id. at 22; Defs.’ Ex. 41

 (showing protestors throwing bottles, and officers shooting projectiles indiscriminately at 57:27)).

        Ms. Pagels arrived downtown, near the intersection of Broad and High Street, early evening

 on Sunday, with her fellow legal observer, Chris Noble. (ECF No. 49 at 7). Much of her testimony

 was devoted to discussing a woman to whom she referred as “the woman in white.” (Id.). A video

 Ms. Pagels recorded shows the woman in white sitting in the middle of West Broad Street. (Pl.’s

 Ex. 102-A; ECF No. 49 at 9). The witness recounted:

        I observed the woman in white . . . sitting there peacefully . . . I observed the camouflaged
        officers point a gun at her. At the time[,] I didn’t know what was in the gun . . . I saw an
        officer spray her in the face with pepper spray at what I would consider point-blank range
        . . . her body is quite limp.

 (ECF No. 49 at 9–10).



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   Richard A. Oppel, Jr., Derrick Bryson Taylor, and Nicholas Bogel-Burroughs, What to Know About Breonna
 Taylor’s Death, N.Y. Times, Apr. 26, 2021, https://www.nytimes.com/article/breonna-taylor-police.html.


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        Stills taken from a video show officers spraying the woman in white at point-blank range.

 (Pl.’s Ex. 68). Another video Ms. Pagels took shows an officer standing in a bus shelter, apparently

 shooting an unknown projectile towards the woman in white. (Pl.’s Ex. 102-B (narrating “Oh, my

 God, they’re going to shoot her again . . . She’s injured.”)). In both videos, a police recording

 ordering congregants’ dispersal is heard plainly. (Pl.’s Exs. 102-A, 102-B).

        An officer dressed in military combat gear pivots his attention toward Ms. Pagels and Mr.

 Noble. He begins shooting projectiles at the pair of fleeing legal observers. (Pl.’s Ex. 102-B

 (narrating, “I’m getting shot at right now”)). The noise from the rotary gun echoes; Ms. Pagels

 yells to Mr. Noble, “Stay with me, Chris. Stay with me.” (Id.). Ms. Pagels likened what she

 experienced to a video game, recalling “ducking,” “dodging,” “avoiding officers . . . spring[ing]

 out from alleys with their guns,” and “zigzagging our way as best as we could to safety.” (ECF

 No. 49 at 28; see also id. at 48 (“Most terrifying experience . . . I definitely suffered from PTSD.”)).

        When asked if she would encourage or discourage others from attending a protest, Ms.

 Pagels stated that she would advise nobody with underlying health conditions to attend, given the

 use of chemical agents. (Id. at 31 (recalling that those with respiratory conditions suffered

 especially)). She also would encourage prospective protestors to understand “the violence that they

 might endure” from law enforcement. (Id. at 31).

        Around 5:00 p.m., Plaintiff Rebecca Lamey traveled with a friend to the area near the

 Statehouse, around Broad and High Street. (ECF No. 47 at 13). There was a bit of “idle time,”

 interspersed with demonstrators shouting, chanting, and kneeling. (Id.; see also id. at 9 (“Some

 people were obviously maybe a little bit louder than others. But it was, overall, I would say

 pleasant.”)). The atmosphere began to change when the demonstrations divided into two. (Id. at

 12 (“A lot of [the officers] were already wearing their riot gear, but a lot of them were starting to




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 put their gas masks on. It started to become more apparent that violence was the language they

 were wanting to speak that day.”)).

         At 7:50 p.m., the now-familiar automated dispersal order sounded. (Pl.’s Ex. 130 (“This is

 an emergency situation . . . Please leave the area.”); see ECF No. 47 at 14 (emphasizing there was

 not any direct order to depart)).

         At 7:52 p.m., a defense exhibit video shows this same intersection—Broad and High

 Street—with several demonstrators standing atop a truck, brandishing guns. (Defs.’ Ex. 41 (at

 52:32)). Ms. Lamey did not recall seeing the truck or these individuals atop it. The video also

 shows a different young man throwing something like a water bottle towards the officers, who

 were wearing riot gear. (Id.).

         A video recorded by a surveillance camera, stationed at the corner of Broad Street and High

 Street, shows SWAT officers firing projectiles and tear gas into a crowd that soon after disperses.

 (Pl.’s Ex. 109; see also ECF No. 47 at 15). Ms. Lamey, fearful of being trampled, stepped to the

 side to avoid the dispersing crowd.

         At 7:54 p.m.—four minutes after Plaintiff Lamey first recalls hearing the dispersal

 announcement—she was struck by one of these munitions while walking on the sidewalk. (Id. at

 15). Specifically, a SWAT officer turned the corner and fired his rotary gun; one knee knocker

 struck Plaintiff Lamey on the hand; she was struck four more times on her inner thighs, left hip,

 and buttock. (Pl.’s Exs. 146, 130, 130-A; Defs.’ Ex. 36 (showing a screenshot of Pl.’s Ex. 140)).

 It is unclear whether the projectile was direct- or skip-fired. (Pl.’s Ex. 130 (video of incident); Pl.’s

 Ex. 131 (similar); Defs.’ Ex. 46)).




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         Later, the above-mentioned surveillance camera video also shows a tactical van driving

 south on High Street, firing projectiles at protestors on either side, while SWAT officers continue

 to fire projectiles north at individuals on High Street.

         Photojournalist for The Columbus Dispatch, Adam Cairns, arrived at the intersection of

 Broad and High Street in his professional capacity around 9:15 p.m., bearing his press badge. (ECF

 No. 46 at 230). A photo Mr. Cairns took, timestamped at 9:44 p.m., shows an officer who appears

 full faced to his camera. Mr. Cairns testified that the officer yelled in Mr. Cairns’ direction to leave,

 and as Mr. Cairns turned to leave, he was struck in the cheek with a wooden projectile.

                                       5. Monday, June 1, 2020

         Plaintiff Andrew Fahmy, a personal banker, joined the protests downtown, near Broad and

 High Street, the evening of June 1 at 5:00 p.m. (See generally ECF No. 47; id. at 105 (“People

 were not really organized . . . .”)). Later, the protestors marched north on High Street; Mr. Fahmy,

 and his friend who accompanied him, followed. (Id. at 109).

         By 9:45 p.m., Plaintiff Fahmy ended up near High and Lane, close to Ohio State’s campus.

         At 10:20 p.m., five to ten police cruisers, mostly SUVs, drove northbound on High Street.

 (Id. at 113). The officers were wearing riot gear, corralling the crowd from the south. Within a few

 minutes, Mr. Fahmy “saw like a yellow mist and streams of pepper spray, and I saw people kind

 of -- a couple of people like hit the ground and were screaming, and a couple of people were trying

 to pour water in their eyes.” (Id. at 114). Mr. Fahmy did not hear any orders to disperse, nor any

 orders relating to curfew. (Id. at 115 (“No, not at all”); id. at 135–36 (“I would have heard it over

 the chants.”)).




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         Within a few minutes, tensions continued to rise, and protestors continued to protest. (ECF

 No. 47 at 118 (“[A] lot of the protestors were yelling . . . .”)). Officers in riot gear were positioned

 on one side of the street, and the protestors, roughly 20 or 30 feet away, opposite the police.

         Shortly after 10:27 p.m., Plaintiff Fahmy was struck by a canister of tear gas a few inches

 above his left ankle, which “felt like . . . a big . . . 20-pound dumbbell.” (Id. at 119; Pl.’s Ex. 134-

 B (video taken by witness); Pl.’s Ex. 134-A (same incident from a different angle)). Mr. Fahmy

 sought medical attention a few days after, and the injury proved to be a severe break. (Compare

 ECF No. 47 at 126 (stating he was in a boot for two-and-a-half-months), and Pl.’s Ex. 76 (x-ray

 of fracture), with ECF No. 48 at 28 (Deputy Chief Quinlan testifying that he would be surprised if

 being hit by a tear gas canister could fracture a bone)).

         Mr. Fahmy has been invited to subsequent protests, and he has responded with: “a hard no

 . . . my personal experience was very negative.” (ECF No. 47 at 128).

         Witness Maeve Walsh, a student journalist for the Ohio State student newspaper, The

 Lantern, covered the protests on location that evening, June 1. (ECF No. 46 at 11). Just as Mr.

 Fahmy testified, the protest began downtown, near the Statehouse, and terminated closer to the

 Ohio State’s campus. (Id.). She was joined by her two colleagues, Max Garrison and Sarah Szilagy.

 (Id. at 11–12 (estimating 200 protestors and 20 officers)). The trio arrived around 9:00 or 9:30

 p.m. (Id. at 11). Part of the newspaper protocol is for the student-journalists to identify themselves

 as much as possible. Thus, Ms. Walsh and her colleagues donned their press badges, a Lantern

 sweatshirt, and a Lantern hat. (Id. at 13). She did not observe any acts of violence by the protestors.

         The curfew came at 10:00 p.m. Around 10:25 p.m., officers approached the student

 journalists in riot gear, ordering them to depart. Ms. Walsh tells the officers that she and her




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 colleagues were members of the media and thus exempt from the 10:00 p.m. curfew. A video taken

 by Ms. Walsh near High Street and Lane Avenue shows how this interaction unfolded.

        An officer approaches the students and says, “Leave, or you’re going to jail. Leave, or

 you’re going to jail.” (Pl.’s Ex. 140-A). Ms. Walsh replies, “We’re members of the press,” and

 thus exempt from curfew, to which the officer replies, “I don’t care.” (Id.). At this point, the crowd

 of protestors had diminished significantly, and a dozen or so officers now outnumber the three

 students. The students begin to retreat while reminding the officers of their press pass. Seconds

 later, an officer fires pepper spray at the students. The students run into an alley. The officers

 continue to pepper spray the journalists’ necks and backs. (Pl.’s Ex. 140-B). The next day, at the

 June 2 CPD roll call, the incident commander alluded to the prior day’s events: “Reporters are not

 subject to a curfew. And that should have been clear from the start.” (Pl.’s Ex. 25).

        Ms. Walsh continued to cover the protests as a journalist. But she took precautions,

 including donning a facemask with a plastic film to protect her eyes against pepper spray.

                     6. Sunday, June 21, 2020 (Father’s Day Demonstration)

        Protests continued in Columbus throughout early June. Renewed protests began mid-June,

 particularly after Rayshard Brooks, a 27-year-old Black man—was shot and killed by Atlanta

 Police Department officers on June 12, 2020. In addition, Mayor Ginther and then-Chief Quinlan

 announced a change in CPD policy, limiting the use of chemical sprays for crowd-control

 scenarios. (Quinlan Aff. ¶¶ 12–13 (“CPD policies now prohibit officers from using chemical spray

 on a violent, non-aggressive crowd, even if they fail to leave the street.”) (emphasis added); ECF

 No. 48 at 14 (“I understood that they would only use pepper spray against people who were being

 violent.”); id. at 66 (same); id. at 71 (speculating officers did not “get the memo”)).




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        Mr. Bardus, the street medic who rendered aid to the injured throughout the spring and

 summer, returned to the protests to do the same on June 21, around 11:00 a.m., near High Street,

 south of Broad Street. (ECF No. 50 at 63 (observing about 50 protestors, mostly on the sidewalk)).

 Ms. Wenning also returned to the demonstrations on June 21 around 3:30 p.m. as a legal observer

 for the National Lawyers Guild. (ECF No. 47 at 170, 175).

        At Broad and High Street, she saw a dozen officers standing in the intersection, facing the

 protestors, who were standing all along the southern edge of the intersection. (Id. at 170). Some

 protestors at the front were holding reflective material in an apparent artistic protest to symbolize

 police violence-reflecting police violence. (ECF No. 50 at 68).

        Commander Weir spoke into his radio and instructed officers to “clear High Street.” (ECF

 No. 47 at 171; ECF No. 50 at 66). In attempts to do so, bicycle-mounted officers strike the

 protestors and push them back. Mr. Bardus put it more directly:

        So[,] they showed up on their bikes[,] and they shoved folks out of the street toward the
        sidewalk. They turned their bikes sideways and basically pushed people. I remember one
        protestor, a woman, fell in the street, and the officer continued to push her with his bike
        while she was on the ground.

 (ECF No. 50 at 66).

        Some officers implemented Commander Weir’s order to clear High Street, but with the

 bicycles facing forwards, not sideways. A video shows an officer repeating, in an aggressively

 monotone voice: “Get out of the road,” while riding forward into the crowd of stationary

 protestors, who pled with him to stop and were crying out in pain. He and other officers engaged

 in some hand-to-hand combat with the protestors. (Pl.’s Ex. 105 (with one officer remarking,

 apparently, “bitch” after pushing a protestor backward, into the ground)). The use of bicycles in

 this manner is a tactic that Mayor Ginther testified was not compliant with the old or new policies.

 Deputy Chief Quinlan agreed impliedly but would not go so far as to say that the technique shown



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 in the above-mentioned video was inconsistent with training. (ECF No. 48 at 64). Mr. Quinlan

 testified: “[O]ur bike training is designed to use a barrier between the protestors and police officers.

 Typically[,] the way I see it done is the bikes are turned sideways. [In the video played at the

 hearing, the bicycle,] looks like it’s more forward[-]facing. The other bikes appear to be sideways.

 That’s more the technique.” (Id.).

        Most importantly, despite CPD’s newly implemented prohibition on the use of chemical

 irritants on non-aggressive individuals, such sprayings continued. (Pl.’s Exs. 105, 106).

        Ms. Wenning recalled from June 21: “I remember seeing this protestor get pepper[-]

 sprayed in the face[,] and then they turned around[,] and there was a medic right there [who]

 flushed their eyes . . . and then the protestor turned back around and immediately got sprayed again

 directly in the face.” (ECF No. 47 at 174).

        Mr. Bardus remembered similarly: “Basically, the group that got sprayed was farther south,

 closer to State [S]treet and High, and there was another group sprayed closer to High and Broad.”

 (ECF No. 55 at 66; id. at 68 (“I’m sort of ping-ponging between folks who need to have their eyes

 flushed.”); id. at 68–69 (describing “big arc[h]ing sprays of mace”)).

        Before both of these crowd-control devices were deployed—the use of bikes and the

 spray—Mr. Bardus did not hear any order given to the protestors standing on the sidewalk. He

 also did not witness the protestors do anything violent against the officers. (ECF No. 50 at 67).

        Ms. Wenning’s outlook on attending protests changed after attending last year’s

 demonstrations. (ECF No. 47 at 176). She testified:

        [T]here are definitely times now where I will know that a protest is happening, and I feel
        like I should not go or I decide not to go because I don’t want to risk getting sprayed or
        getting tear gassed . . . [A]fter I was tear gassed on the 28th – and then also we didn’t talk
        about this date, but two days afterward, I think on the 30th, I was also exposed to some tear
        gas on that day -- I had like spotting in between periods which I have heard my friends
        report as well. And that really frightened me. That made me think there was damage done



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        to my body from tear gas. So[,] there are times that I have not gone to events, protests,
        because I thought something like that could happen.

 (Id. at 177—76).
                               7. CPD’s Characterization of the Protests

        Much of the testimony and evidence presented in the briefing and at the hearing

 demonstrated that CPD approached last year’s protests differently than if the protests had not been

 about police brutality. This is evident in then-Chief Quinlan’s June 2, 2020 roll call speech to

 officers: “And with the situation when we’re the focus of the protest, we can’t afford to be the ones

 that create that provocation. We just can’t . . . It’s a lot easier when they’re protesting something

 else.” (Pl.’s Ex. 25 (emphasis added); see also Pl.’s Ex. 4 (citing Thomas Quinlan Aff. ¶ 6)).

        He echoed this position at the hearing: “They were against the police . . . I just know

 officers were concerned for their safety[,] and they were against the police.” (ECF No. 48 at 89;

 but see ECF No. 46 at 10, 28, 60, 103 (stating these witnesses are not members of any antipolice

 groups); ECF No. 47 at 58, 142, 103 (same); ECF No. 49 at 4, 51, 117, 184 (same)).

        This Court engaged in the following colloquy with Mr. Quinlan:

        THE COURT:            Chief, you indicated that you advised our officers who were going
        to be the police presence at the protest that there was a national movement that was an
        antipolice movement. Did I characterize that correctly? And if not, tell me how you
        characterized it.

        THE WITNESS:           Yes, Your Honor. When I talked to officers, I said that these are –
        these times are different than protests we typically deal with. We typically deal with
        protestors on two sides[,] and we’re in the middle trying to keep the two opposing sides
        separate to keep [the] peace. In this case, there [are] no two sides. It was protestors facing
        police to have their voices heard about systemic racism in this country and in Columbus
        and that they were speaking out about that and that we were the focus of the protest activity.
        So[,] that changed the dynamics.

 (ECF No. 48 at 103–04).




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         Commander Weir agreed, testifying that on May 28, the first substantive day of the

 protests: “[B]ecause the protests were anticipated to be antipolice protests, we didn’t necessarily

 want to be very visible.” (ECF No. 52 at 104).

         CPD’s conduct revealed that officers conflated the spark of the protests (i.e., Mr. Floyd’s

 murder) with the effects of the protest (i.e., chants that criticized police and police brutality). It is

 understandable why an officer might take personally profane and provocative chants. (ECF No.

 47 at 95 (“[O]ther people were yelling stuff like fuck you.”); ECF No. 51 at 71 (“They were saying

 fuck you[,] and fuck the police.”); ECF No. 52 at 127 (“[T]here was a bunch of [All Cops Are

 Bastards (“ACAB”)] graffiti all around there.”)). But what is not comprehensible is why she would

 then let that dictate her treatment of individuals exercising their First Amendment right, no matter

 how unkind their chants and signs might be. (ECF No. 47 at 74–75 (“That’s what you get for being

 down here you black protesting bitch.”)).

         What separates our nation from some others is the ability to criticize our leaders and those

 bearing the imprimatur of state authority without fear of retribution. Typically, police are the ones

 who protect and ensure that this cherished right remains unencumbered. That is not what occurred

 last summer.

                                 III. STANDARD OF REVIEW

         Four factors control the Court’s discretion to grant a preliminary injunction: (1) whether

 the moving party has shown a strong likelihood of success on the merits; (2) whether the moving

 party will suffer irreparable harm if the injunction is not issued; (3) whether the issuance of the

 injunction would cause substantial harm to others; and (4) whether the public interest would be

 served by issuing the injunction. Hall v. Edgewood Partners Ins. Ctr., Inc., 878 F.3d 524, 526–27

 (6th Cir. 2017). While a strong likelihood of success is the crucial factor, all four must be balanced




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 rather than treated as prerequisites. McPherson v. Mich. High Sch. Athletic Ass’n, Inc., 119 F.3d

 453, 459 (6th Cir. 1997). Irreparable harm is nearly as crucial as the success factor: “Our frequently

 reiterated standard requires plaintiffs seeking preliminary relief to demonstrate that irreparable

 injury is likely in the absence of an injunction.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7,

 22–24 (2008). “The loss of First Amendment freedoms, for even minimal periods of time,

 unquestionably constitutes irreparable injury.” Elrod v. Burns, 427 U.S. 347, 373 (1976).

                                         IV. LAW & ANALYSIS

          This Court begins its legal analysis with a reminder from the Ninth Circuit:

          Demonstrations can be expected when the government acts in highly controversial ways[]
          or other events occur that excite or arouse the passions of the citizenry. The more
          controversial the occurrence, the more likely people are to demonstrate. Some of these
          demonstrations may become violent. The courts have held that the proper response to
          potential and actual violence is for the government to ensure an adequate police presence
          and to arrest those who actually engage in such conduct, rather than to suppress legitimate
          First Amendment conduct as a prophylactic measure.

 Collins v. Jordan, 110 F.3d 1363, 1372 (9th Cir. 1996) (citation omitted).

                                        A.         The Floyd Case Law

          Since the last year’s protests in the wake of George Floyd’s killing, there have been no

 fewer than seventy-three cases exploring how these protests shine a light on existing First

 Amendment or Fourth Amendment principles. (“Floyd Caselaw”).45



 45
    See, e.g., Abay v. City of Denver, 445 F. Supp. 3d 1286, 1292 (D. Colo. 2020) (granting the temporary restraining
 order and noting: “Officers used physical weapons and chemical agents to prevent not just peaceful demonstration,
 but also the media’s ability to document the demonstrations and plaintiffs’ and third parties’ ability to offer aid to
 demonstrators.”); Goyette v. City of Minneapolis, No. 20-CV-1302 (WMW/DTS), 2020 WL 3056705, at *1 (D. Minn.
 June 9, 2020) (dismissing the case absent allegation of immediacy of harm); Don’t Shoot Portland v. City of Portland,
 465 F. Supp. 3d 1150, 1157 (D. Or. 2020) (granting a temporary restraining order, finding that while there was
 destruction, these plaintiffs only engaged in peaceful and non-destructive protest and that officers might have been
 substantially motivated by an intent to interfere with plaintiffs’ constitutionally protected expression); Black Lives
 Matter Seattle-King Cnty. v. City of Seattle, Seattle Police Dep’t, 466 F. Supp. 3d 1206, 1210 (W.D. Wash. 2020)
 (finding a “clear showing” of a likelihood of success on the merits of the First Amendment claim because Plaintiffs
 demonstrated that the officers’ actions—in the use of less-lethal crowd-control tactics, such as tear gas and pepper
 spray—were substantially motivated by Plaintiffs’ conduct and also had a chilling effect on the First Amendment
 activity); Anti Police-Terror Project v. City of Oakland, 477 F. Supp. 3d 1066, 1069 (N.D. Cal. 2020).


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        Each case in the Floyd Caselaw presents a similar tale: protestors gather near buildings of

 community significance, such as state capitol buildings, courthouses, and police stations, to

 express their horror and outrage at the killings of Black Americans at the hands of police officers;

 violence occurs at the hands of demonstrators and officers alike; most demonstrators chant, sing,

 and exercise a number of nonviolent and constitutionally protected activities; other demonstrators

 serve as an accelerant, engage in violence, and ignore police commands; at various points, officers

 protecting municipal, federal, and private properties are subject to threats, projectiles, and

 sometimes violence; dispersal orders or instructions for how to comply with police orders are

 either unheard, unprovided, or unheeded; police deploy less-lethal munitions, resulting in injuries

 to violent, nonviolent, and compliant protestors as well as passersby.

        As our sister courts have noted, there are several prevailing legal principles from the Floyd

 Caselaw. First, all individuals have a First Amendment right to protest the actions of government

 officials, including police officers, without fear for their safety. Second, police officers, almost by

 definition, operate in an intense and volatile workplace context. Third, the Floyd Caselaw arises

 in unprecedented times that have upended life; the pandemic has also reminded us of the structural,

 unequal access to healthcare, particularly for Black, brown, indigenous, and rural communities,

 those with pre-existing illnesses or stigmatized health profiles, and those with mobility limitations.

 Finally, the Floyd Caselaw courts have recognized an inherent difficulty in drawing an enforceable

 line that is sensitive to officers’ ability to quell violence and prevent the destruction of property

 without crossing the line into chilling free speech and abusing those who wish to exercise it.

                            B.       Standing to Seek Injunctive Relief

        Defendants challenge the existence of standing to seek injunctive relief, arguing that

 Plaintiffs have not shown a real and immediate threat of future harm. (ECF No. 61-1 at 7). The




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 doctrine of standing arises from Article III of the Constitution, which gives federal courts

 jurisdiction over cases and controversies. U.S. CONST. art. III § 2; see also Lujan v. Defs. of

 Wildlife, 504 U.S. 555, 559–60 (1992). The basic elements of standing are: (1) an injury in fact;

 (2) a causal connection between the injury and the conduct complained of; and (3) it must be likely,

 as opposed to merely speculative, that the injury will be redressed by a favorable decision. Id. at

 560–61. To win declaratory or injunctive relief, a plaintiff “must show actual present harm or a

 significant possibility of future harm.” Grendell v. Ohio Supreme Court, 252 F.3d 828, 832 (6th

 Cir. 2001).

                                          1. Injury in Fact

           An injury in fact must be concrete, particularized, actual, and imminent. Friends of the

 Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 180 (2000). Put another way, the

 “threatened injury must be ‘certainly impending’ to constitute injury in fact, and ‘[a]llegations

 of possible future injury’ are not sufficient.” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409

 (2013) (quoting another source); O’Shea v. Littleton, 414 U.S. 488, 495–96 (1974) (“Past exposure

 to illegal conduct does not in itself show a present case or controversy regarding injunctive relief

 . . . if unaccompanied by any continuing, present adverse effects.”).

           Defendants rely on City of Los Angles v. Lyons, where the plaintiff sought an injunction

 against     the   City   of   Los   Angeles   to    ban   the   use   of   chokeholds   in   certain

 circumstances. 461 U.S. 95, 97–98 (1983). In Lyons, LAPD officers placed Mr. Lyons in a

 chokehold during a routine traffic stop, which rendered Mr. Lyons unconscious and caused damage

 to his larynx. Id. at 97. On the initial remand, the district court found that officers stopped Mr.

 Lyons for a traffic infringement without provocation or legal justification, the officers applied a




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 department-authorized chokehold. Id. at 99 (summarizing the district court’s finding that the use

 of chokeholds in this manner “is unconscionable in a civilized society”).

          Mr. Lyons sought injunctive relief. The Supreme Court found that Mr. Lyons failed to

 demonstrate a case or controversy to justify his requested relief. That is, he was unable to establish

 standing, absent proof of some real and immediate, rather than conjectural or hypothetical, injury

 or threatened injury. Id. at 101. “Nothing” in the police’s policy “suggest[ed] that the chokeholds

 . . . [were] authorized absent some resistance or other provocation,” the Court explained. Id. at

 106. Mr. Lyons could not show that another encounter with the police was likely, nor could he

 demonstrate: (1) that all police officers in Los Angeles always choke any citizen with whom they

 happen to have an encounter; or (2) that the City ordered or authorized police officers to act in

 such manner. Id. at 106, 110. Accordingly, the Lyons court reasoned that because no city policy

 authorized officers to use illegal chokeholds, “it is surely no more than speculation . . .

 that Lyons himself will again be involved in one of those unfortunate instances, or that he will be

 arrested in the future and provoke the use of a chokehold.” See id. at 108.46


 46
   While Lyons became a seminal case on the mootness doctrine, courts often rely upon it to assess standing. Indeed,
 the Sixth Circuit has recently applied Lyons in election-law cases. See Shelby Advocates for Valid Elections v. Hargett,
 947 F.3d 977 (6th Cir. 2020), cert. denied, ––– U.S. ––––, (2020); Memphis A. Philip Randolph Inst. v. Hargett, 978
 F.3d 378, 387 (6th Cir. 2020). In Shelby Advocates, an organizational plaintiff and four individual plaintiffs alleged
 “a variety of election administration problems,” including that “election workers [were] poorly trained, sometimes
 distributing the wrong ballots . . . , sometimes recording the wrong address when registering a voter, and once
 distributing a poll book without redacting voters’ personal information.” Shelby Advocates for Valid Elections, 947
 F.3d at 980. Echoing Lyons, the court found that the plaintiffs failed to allege imminent harm because there was no
 evidence that “Shelby County election officials always make these mistakes” or that “the government entities ordered
 the election workers to make any such mistakes.” Id. at 981 (emphasis added).

 In Memphis A. Philip Randolph Institute, plaintiffs challenged Tennessee’s statutory scheme governing absentee
 voting, particularly the signature verification procedures. Memphis A. Philip Randolph Inst., 978 F.3d at 378.
 Affirming the district court’s order denying the plaintiffs’ motion for a preliminary injunction, the Sixth Circuit found
 that the plaintiffs had not clearly demonstrated that they face an actual, concrete, particularized, and imminent threat
 of harm. Unlike in Lyons, where the plaintiff had a concrete past injury resulting from government conduct, in
 Memphis A. Philip Randolph Institute, the plaintiffs could not cite with certainty or specificity any past erroneous
 rejection of absentee ballots. The Memphis A. Philip Randolph Institute plaintiffs also failed to overcome declarations
 from state election officials detailing the procedures implemented to protect against human errors in the signature
 verification process. For example, a mandatory training video instructed election officials to accept all but the most



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          Even when there is a concrete past harm such as in Lyons, the Sixth Circuit heeds the

 Supreme Court’s directive that “past exposure to illegal conduct does not in itself show a present

 case or controversy regarding injunctive relief . . . if unaccompanied by any continuing, present

 adverse effects.” Grendell, 252 F.3d at 832 (quoting Lyons, 461 U.S. at 102, 103). In Grendell, for

 example, the Sixth Circuit reviewed a case against the Ohio Supreme Court. Plaintiffs sought

 injunctive relief, contending that the Ohio Supreme Court Practice Rule XIV § 5 was

 unconstitutional on its face. Absent evidence of a real and immediate threat of repeated injury, Mr.

 Grendell’s prior injury (i.e., being previously sanctioned by the Ohio Supreme Court) did not

 establish an adequate injury in fact to confer standing,.

          As is relevant to this case, this Court draws the following principles from the Sixth Circuit’s

 interpretation of Lyons. First, an absence of a concrete past injury proves fatal to proving standing.

 Second, the alleged unlawful conduct must be pursuant to some policy, practice, or functional

 equivalent, and Plaintiffs’ past injuries must have stemmed from these policies or procedures.

 Third, there must be a non-speculative threat of repetition.

          Here, Defendants do not contest the existence of a past injury, so this Court’s standing

 determination will focus on the second and third questions.

                                   a. Policy, Practice, or Functional Equivalent

          Recall that the Supreme Court found in Lyons that because nothing in the policy of the Los

 Angeles police suggested that chokeholds were authorized absent some resistance or other

 provocation by the arrestee or other suspect, Mr. Lyons had not established a “real and immediate

 threat” that he would be stopped and choked again. Lyons, 461 U.S. at 105, 110. Evidence of



 obviously inconsistent signatures. Before any ballot was rejected, three trained election officials, including an
 administrator, must agree that the signature on the absentee ballot does not match the signature in the voter registration
 records. Given the training and protections practiced by state officials, the Sixth Circuit found it far from inevitable
 that an absentee ballot will be incorrectly rejected due to an inconsistent signature.


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 relatively few instances of violations by individual police officers, “without any showing of

 a deliberate policy on behalf of the named defendants,” does not provide a basis to seek equitable

 relief. Id. at 104.

         Therefore, in this case, Plaintiffs must show more than a few instances of alleged excessive

 force or retaliatory treatment. Instead, Plaintiffs must put forth specific facts establishing a

 deliberate policy of the City authorizing such misconduct. Daubenmire v. City of Columbus, No.

 2:04-CV-01105, 2008 WL 4758677, at *10 (S.D. Ohio Oct. 24, 2008). Short of an official written

 policy authorizing the contested conduct, the question is whether anyone with policymaking

 authority authorizes its officers to act in such a manner. Curtis v. City of New Haven, 726 F.2d 65,

 68 (2d Cir. 1984).

         Here, Plaintiffs identify two written policies or practices and multiple instances of

 encouragement or authorization from senior departmental personnel sanctioning the contested

 conduct. Cf. Lyons, 461 U.S. at 106 (stating that Mr. Lyons did not have standing in part because

 he failed to show that the City ordered or authorized the LAPD to place him in a chokehold).

                                (i)     Written Policies or Practices

         First, CPD’s use of force directive allows for an exertion of energy to direct or control

 “resistive or aggressive behavior toward the involved personnel, other personnel, third parties, or

 property.” (Pl.’s Ex. 8). Use of chemical spray is a Level 2 use of force, and striking, punching, or

 kicking is a Level 4. (Id.).

         Second, and relatedly, CPD’s Amended Directive 2.04 (“Amended Directive”) revised

 departmental policies on the use of chemical irritants on non-aggressive protestors. (Defs.’ Ex. 44

 at 4). Chemical spray may be used to gain control of “a physically aggressive/resistive subject, to

 prevent escape, or to prevent or stop the commission of a criminal offense.” (Pl.’s Ex. 9 at 1). But




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 “it should be directed at the persons participating in the violent or aggressive conduct, not at the

 group in general.” (Id.). Importantly, the Amended Directive states: “Failure to leave a street or

 move, by itself, shall not justify the use of chemical spray against a non-aggressive[,] non-violent

 crowd.” (Id. at 5). Indicia of violence or aggression include: (1) stopping or impeding the

 movement of individuals not engaged in the protest; (2) trapping an occupied vehicle; or (3)

 impeding emergency personnel.

          The Amended Directive contains a large carveout: “Sworn personnel may use chemical

 irritants to clear a congregation of people from a controlled-access highway or to prevent a

 congregation of people from entering a controlled-access highway,” which, as statutorily defined,

 refers to “every street or highway.”47 (Id.).

                                   (ii)     Encouragement or Authorization

          In addition to these written policies, Plaintiffs also point to a host of orders given from

 CPD senior personnel during last year’s protests as evidence of a policy, practice, or functional

 equivalent. The hearing revealed verbal orders by CPD higher-ups which point to a pattern of

 police behavior applying excessive force to protestors and congregants who not physically

 resisting, destroying property, or threatening to do so. This Court reviews two such examples.

          On May 29, 2020, a body-worn camera video from that evening shows a CPD supervisor

 instructing bicycle officers that “the group at Broad and High is going to move. They’re not going

 to stay there . . . We are going to move them by any means necessary⸺reasonably necessary.

 Everybody got that? Get your mace ready.” (Pl.’s Ex. 123-A). These officers ride their bicycles

 into congregants standing on the sidewalk and spray chemical irritants at random.


 47
   “Controlled-access highway,” statutorily defined, means “every street or highway in respect to which owners or
 occupants of abutting lands and other persons have no legal right of access to or from the same except at some points
 only and in such manner as may be determined by the public authority having jurisdiction over such street or highway.”
 O.R.C. § 4511.01(CC).


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        Similarly, recall that the Father’s Day Demonstration on June 21, 2020, occurred after the

 Amended Directive 2.04 in the use of chemical irritants became operative. Commander Weir

 instructed officers to “clear High Street” of protestors. One video shows officers push, shove, and

 spray protestors standing in the street. A separate video shows an officer indiscriminately spraying

 congregants, including some standing on fleeing toward the sidewalk. (Pl.’s Ex. 106).

        Unlike in the Sixth Circuit’s review of the voting-law cases where it found the training of

 election staff to be adequate, here, there are questions of the adequacy of CPD training on the

 definition of when a crowd or individuals are “violent,” “aggressive,” and “resistive.”

        Deputy Chief Kuebler admitted the vagueness:

        Q. Is there something in the division’s policies that explains what it means for protestors
        who are in the street to be aggressive?

        A. That remains very unclear to us in the division.

 (Kuebler 148:15—19). This definitional gap is important since an officer is permitted only to use

 chemical spray, for example, against a violent, aggressive, or resistive individual.

        In addition, neither the Directives nor the training relating to the use of wood projectiles

 and the use of bicycles to shove protestors has been amended at all. Under existing guidelines,

 CPD can order demonstrators to “clear the area,” and officers can treat that order as encompassing

 sidewalks as well as streets and use their discretion as to whether protestors are leaving fast

 enough.

        Plaintiffs have plausibly alleged that the officers’ use of force on protestors and passersby

 at last year’s protest was conducted pursuant to a formal policy or its functional equivalent, regular

 and routine practice, and even encouragement. Cf. Lyons, 461 U.S. at 110 n.9 (“The dissent does

 not . . . point to any written or oral pronouncement by the LAPD or any evidence showing a pattern




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 of police behavior that would indicate that the official policy would permit the application of

 [chokeholds on suspects who refrained from engaging in unlawful conduct].”).

        Based on the written policies and the verbal commands, this Court finds that Plaintiffs’

 allegations of unlawful police conduct are premised upon unlawful policies and practices, since

 the use of force policy and Amended Directive 2.04 still allow for the repeated and indiscriminate

 use of chemical spray, wooden projectiles, and physical force on large swaths of people—not just

 on those involved in violence or aggression.

                                           b. Future Harm

        “Despite being harmed in the past, the [plaintiffs] must still show that the threat of injury

 in the future is ‘certainly impending’ or that it presents a ‘substantial risk’ of recurrence for the

 court to hear their claim for prospective relief.” Clapper, 568 U.S. at 414 n.5.

        Plaintiffs have alleged that the unreasonable deployment of less-lethal force is likely to be

 re-deployed in the future. Conversely, Defendants, relying on Lyons, argue that Plaintiffs cannot

 establish standing by presenting evidence that CPD used the alleged policies against them in the

 past. Several Plaintiffs and witnesses declared their intention to attend future demonstrators

 relating to police reform and the treatment of police brutality. Their fear that they will be subjected

 to an allegedly illegal action is more than subjective.

        This is not Lyons, where a future risk was found to arise from an isolated incident of abuse.

 Rather, Plaintiffs introduced evidence of the Defendants’ ongoing, sustained pattern of conduct

 that resulted in numerous injuries to protestors and congregants. “[T]he possibility of recurring

 injury ceases to be speculative when actual repeated incidents are documented.” Thomas v. Cnty.

 of Los Angeles, 978 F.2d 504, 507 (9th Cir. 1992) (internal quotation marks omitted).




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        Ms. Pagels, a witness who attended most days of the protest, observed repeated instances

 of excessive force: “Under a wide range of circumstances[,] I saw them use chemical weapons,

 bicycles, fists, flashbangs on people on sidewalks, on streets, in groups, alone.” (ECF No. 49 at 5).

 The most common less-lethal dispersal technique she observed was pepper spray, followed by

 knee-knockers. And then more increasingly, “throughout the summer[,] I saw [officers’] bicycles

 being used as weapons.” (ECF No. 49 at 5).

        In other words, CPD’s use of less-lethal force on non-aggressive individuals is not, to

 borrow the Sixth Circuit’s terminology, “vanishingly rare.” Hearring v. Sliwowski, 806 F.3d 864,

 868 (6th Cir. 2015) (reviewing Lyons). And as the Supreme Court said in Lyons: “It is the reality of

 the threat of repeated injury that is relevant to the standing inquiry, not the plaintiff's subjective

 apprehensions.” Lyons, 461 U.S. at 107 n.8. An encounter with CPD at a demonstration, and thus

 with CPD policies, is likely to occur much more frequently than the speculation Mr. Lyons bore.

 Thus, Plaintiffs have standing to seek injunctive relief. Thus, Plaintiffs have satisfied the injury-

 in-fact requirement. See Samaha v. City of Minneapolis, No. 20-cv-01715, 2021 WL 931243, at

 *8 (D. Minn. Mar. 11, 2021) (“Plaintiffs are not required to divine the date when the next

 controversy will spark widespread outrage in this community. The Court finds that Plaintiffs

 have standing.”).

                                  2. Causation and Redressability

        In addition to the injury-in-fact requirement, a plaintiff must also satisfy the causation and

 redressability requirements of standing. Plaintiffs have established causation because the alleged

 excessive force and retaliation is fairly traceable to the City’s actions. Under the redressability

 requirement, a plaintiff must show a likelihood that the requested relief will redress the alleged

 injury. Plaintiffs seek an injunction restraining CPD’s use of less-lethal force on nonviolent




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 protesters to enforce dispersal orders. This requested relief is directly tied to the injuries

 Plaintiffs—all nonviolent protestors, observers, and passersby sustained last summer.

        Thus, this Court finds that Plaintiffs have demonstrated a concrete past injury of being

 subjected to less-lethal force, pursuant to CPD’s policies and procedures and that the specter of

 repetition is concrete and non-speculative. A favorable decision would redress these concerns.

                                  C.            Mootness

        Defendants further assert that Plaintiffs’ Motion for Preliminary Injunction is moot because

 they did not seek injunctive relief back in May or June of 2020 when the alleged unconstitutional

 conduct occurred. (ECF No. 61-1 at 10). In the months that have followed the protests, Defendants

 contend that much of Plaintiffs’ claim for injunctive relief has become moot due to changes the

 City has made to CPD Directives and the City Code. (Id.).

        “In addition to requiring that a party have standing, the Constitution’s case or controversy

 requirement mandates that a claim must not become moot prior to the court’s decision on the

 merits.” Speech First, Inc. v. Schlissel, 939 F.3d 756, 767 (6th Cir. 2019). A case becomes moot

 when either the “issues presented are no longer ‘live’ or the parties lack a legally cognizable

 interest in the outcome.” Id. (internal citations omitted). To determine mootness, “the question is

 not whether the precise relief sought at the time the application for an injunction was filed is still

 available. The question is whether there can be any effective relief.” Nw. Envtl. Def. Ctr. v.

 Gordon, 849 F.2d 1241, 1244—45 (9th Cir. 1988). If a course of action is mostly completed, but

 modifications can be made that could alleviate the harm suffered by the plaintiff’s injury, the issue

 is not moot. Tyler v. Cuomo, 236 F.3d 1124, 1137 (9th Cir. 2000). A case becomes moot “only

 when it is impossible for a court to grant any effectual relief whatever to the prevailing

 party.” Chafin v. Chafin, 568 U.S. 165, 172 (2013) (quotation marks omitted). The party alleging




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 mootness bears a “heavy burden” to establish that a court can provide no effective relief. Karuk

 Tribe of Cal. v. U.S. Forest Serv., 681 F.3d 1006, 1017 (9th Cir. 2012) (quoting Forest Guardians

 v. Johanns, 450 F.3d 455, 461 (9th Cir. 2006)).

         Below, this Court reviews two mootness doctrines: (1) the capable of repetition

 yet evading review doctrine; and (2) the voluntary cessation doctrine. Both are often referred to

 as “exceptions” to the mootness doctrine. See Boston Teachers Union, Local 66, AFT, AFL-CIO

 v. Edgar, 787 F.2d 12, 16 (6th Cir.1986) (referring to the voluntary cessation doctrine as an

 exception to the mootness doctrine); see also Gottfried v. Medical Planning Servs., Inc., 280 F.3d

 684, 693 (6th Cir. 2002)) (referring to the capable of repetition yet evading review doctrine as an

 exception to the mootness doctrine).

                            1. Capable of Repetition Yet Evading Review

         The capable of repetition, yet evading review exception to the mootness doctrine applies

 where: “(1) the challenged action [is] in its duration too short to be fully litigated prior to cessation

 or expiration and (2) there [is] a reasonable expectation that the same complaining party [will] be

 subject to the same action again.” Coal. for Gov't Procurement v. Fed. Prison Indus., Inc., 365

 F.3d 435, 470, 473 (6th Cir. 2004) (quoting Spencer v. Kemna, 523 U.S. 1, 17 (1998)).The

 Supreme Court has further stated that it has been “unwilling to assume that the party seeking relief

 will repeat the type of misconduct that would once again place him or her at risk of that

 injury.” Honig v. Doe, 484 U.S. 305, 320, (1988) (citing Lyons, 461 U.S. at 105–06).

         This Court finds that there is a reasonable expectation that the same complaining parties,

 Plaintiffs, would be subject to the same action again. Ms. Pagels, a witness who attended most

 days of the protest, observed repeated instances of less-lethal force deployed on non-violent

 congregants: “Under a wide range of circumstances[,] I saw them use chemical weapons, bicycles,




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 fists, flashbangs on people on sidewalks, on streets, in groups, alone.” (ECF No. 49 at 5). As long

 police killings are met with public outrage and protest—and as long as CPD relies upon less-lethal

 force to disperse non-violent congregants—there remains a reasonable likelihood that Plaintiffs

 will face the same challenged conduct again.48

                                   2. Voluntary Cessation Doctrine

         Further, voluntary cessation of conduct moots a claim only in limited and narrow

 circumstances. As explained by the Supreme Court:

         The test for mootness in cases such as this is a stringent one. Mere voluntary cessation of
         allegedly illegal conduct does not moot a case; if it did, the courts would be compelled to
         leave the defendant free to return to his old ways. A case might become moot if subsequent
         events made it absolutely clear that the allegedly wrongful behavior could not reasonably
         be expected to recur. Of course[,] it is still open to appellees to show, on remand, that the
         likelihood of further violations is sufficiently remote to make injunctive relief
         unnecessary. This is a matter for the trial judge. But this case is not technically moot, an
         appeal has been properly taken, and we have no choice but to decide it.

 City of Mesquite v. Aladdin’s Castle, Inc., 455 U.S. 283, 289 n.10 (1982) (simplified).49

         Defendants contend that because Plaintiffs did not seek injunctive relief back in June when

 the alleged unconstitutional conduct occurred, much of their claim for injunctive relief has become

 moot. (ECF No. 10 at 12). Further, in the six months that followed the protests, CPD amended its

 directives with respect to the use of chemical irritants to (according to Mayor Ginther) facilitate

 better trust and relations with the community. Consequently, Defendants argue that this voluntary

 change in enforcement tactics moot Plaintiffs’ claims as well.




 48
    Eric Lagatta, Protests Continue Sunday in Downtown Columbus for Ma’Khia Bryant, Others Killed by Police,
 Columbus Dispatch (Apr. 25, 2021), https://www.dispatch.com/story/news/2021/04/25/protests-continue-sunday-
 columbus-makhia-bryant/7377610002.
 49
    See Brownback v. King 141 S. Ct. 740, 748 (2021) (using a “cleaned up” parenthetical).


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         This mootness argument fails. Even acknowledging that the department amended its

 directives, much of Plaintiffs’ Complaint centers on not just the department’s written policies but

 also how those policies are implemented in practice.

         Thus, there is a live issue of whether Defendants have a policy, practice, or custom of using

 excessive force and retaliatory infliction of pain on peaceful protestors.

                        D.        Factors for Preliminary-Injunctive Relief

                                1. Likelihood of Success on the Merits

         Plaintiffs argue that Defendants use of non-lethal, or less-lethal, crowd-control tactics

 violate their Fourth Amendment right to be free from excessive force and their First Amendment

 right to protest without retaliation. Plaintiffs also allege that the Defendants are liable for violations

 of Plaintiffs’ constitutional rights under a theory of municipal liability, under Monell v.

 Department of Social Services, 436 U.S. 658, 691 (1978).

                             a. The Fourth Amendment (Excessive Force)

         Plaintiffs contend that they have a strong likelihood of success on their claim that CPD’s

 use of excessive force was violative of the Fourth Amendment. (ECF No. 6 at 23). Defendants

 retort CPD’s use of force did not constitute a seizure because the protestors were free to leave—

 in fact, they were ordered to do so, thereby demonstrating that Plaintiffs cannot succeed on their

 Fourth Amendment claims and must rely instead upon the substantive Due Process Clause of the

 Fourteenth Amendment. This Court reviews these arguments below. First, it considers whether a

 seizure has occurred under the Fourth Amendment. After determining that it has, this Court

 analyzes the reasonableness of force applied.




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                                             (1) Seizure

        Violation of the Fourth Amendment requires an intentional acquisition of physical

 control. Brower v. Cnty. of Inyo, 489 U.S. 593, 596 (1989). Thus, the threshold question this Court

 must resolve is: Has there been a seizure? The arrest of a suspect indisputably constitutes a seizure.

 Circumstances falling short of an arrest also might constitute a seizure, where an “officer, by means

 of physical force or show of authority, terminates or restrains [someone’s] freedom by movement

 through means intentionally applied.” Brendlin v. California, 551 U.S. 249, 254—55 (2007)

 (internal citations omitted). Such a seizure occurs “only when there is a governmental termination

 of freedom of movement through means intentionally applied.” Brower, 489 U.S. at

 597 (emphasis omitted).

        At the outset, this Court notes that Defendants’ reliance on Torres v. Madrid, 141 S. Ct.

 989, 991 (2021), is misplaced. In that case, the issue was whether the application of physical force

 is a seizure if the force hits the targeted individual but fails to stop the person. Id. at 995. The

 Supreme Court said yes: “The application of physical force to the body of a person with the intent

 to restrain is a seizure, even if the force does not succeed in subduing the person.” Id. at 993.

 Defendants attempt to draw from this case a different principle—namely, that no seizure ever

 occurs unless an officer manifests an intent to restrain the subject. (ECF No. 61-1 at 14; ECF No.

 64 at 2 n.2). But this is not what the Supreme Court held. Chief Justice Roberts even said as much:

        This approach improperly erases the distinction between seizures by control and seizures
        by force. In all fairness, we too have not always been attentive to this distinction when a
        case did not implicate the issue . . . But each type of seizure enjoys a separate common law
        pedigree that gives rise to a separate rule . . . Unlike a seizure by force, a seizure by
        acquisition of control involves either a voluntary submission to a show of authority or the
        termination of movement.

 Id. at 1001. Accordingly, the Court held in Torres that a woman was seized when officers shot her,

 despite her failure to yield to that force, as it amounted to a seizure by force given the officers’



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 intent to restrain. Defendants ignore this distinction and instead argue that any circumstance

 lacking an intent to restrain falls outside the ambit of the Fourth Amendment entirely.50 That

 misreads Torres and aggressively narrows Fourth Amendment jurisprudence.

         This case deals with both seizures by force and seizures by control. Defendants do not deny

 that Plaintiff Hazlett and Plaintiff Lynch were seized (by force) when they were arrested. An arrest,

 of course, is the quintessential seizure.

         The rub here is whether other circumstances (falling short of an arrest) amounted to a

 seizure by the acquisition of control.

         A constitutionally cognizable seizure can occur in crowd-control scenarios. Nelson v. City

 of Davis is instructive. 685 F.3d 867, 872 (9th Cir. 2012). There, a partygoing college student was

 shot in the eye by a pepper ball projectile fired from the weapon of a university officer attempting

 to clear an apartment complex of 1,000 partygoers. Such a large gathering created crowd-control

 difficulties and gridlock. Id. (recalling a partygoer described the event as “the biggest party in

 history”). The Nelson defendants issued a verbal order to disperse but lacked any means of

 amplifying their voices to a meaningful level. As their crowd-dispersal strategies proved

 unsuccessful, the officers found themselves overwhelmed by the crowd, including some

 individuals who threw bottles at a police vehicle. Some partygoers were attempting to leave the

 party, but police blocked their means of egress and did not provide any additional instructions on

 how to leave; the partygoers also raised their hands to show their willingness to comply. There

 was no audible warning or notice prior to shooting projectiles towards the partyers.




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   Because of the facts presented here, this Court hesitates to ignore the Torres Court’s language: “We do not accept
 the dissent’s invitation to opine on matters not presented here—pepper spray, flash-bang grenades, lasers, and more.”
 Id. at 998.


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          Whether a constitutionally cognizable seizure by control can occur in protest scenarios is

 a murkier landscape. The question before this Court is: Was there a seizure by control when the

 police used less-lethal force, including pepper spray, tear gas, and physical force, to disperse—

 rather than detain—activists, protestors, and congregants? Some courts answer this question in the

 affirmative51 and others in the negative.52 Others do not answer it at all and instead assume the

 Fourth Amendment applies.53 But there is a body of authority suggesting that the use of a chemical

 agent or other less-lethal crowd control tactics over a demonstrating crowd constitutes a seizure

 within the meaning of the Fourth Amendment. This Court finds three cases persuasive.

          Predating the Floyd Caselaw are two instructive cases: Marbet v. City of Portland, No. CV

 02-1448-HA, 2003 WL 23540258, at *10 (D. Or. Sept. 8, 2003), and Jennings v. City of Miami,

 No. 07-23008-CIV, 2009 WL 413110, at *8 (S.D. Fla. Jan. 27, 2009). Within the Floyd Caselaw,

 Downes-Covington v. Las Vegas Metropolitan Police Department, No. 220CV01790, 2020 WL

 7408725, at *10 (D. Nev., Dec. 17, 2020) is useful. As analyzed below, in the cases, the courts

 considered similar facts and reasoned that officers’ use of chemical irritants and physical force

 could amount to a constitutionally redressable seizure.

          First, the District Court of Oregon in Marbet reviewed officers’ use of force on

 demonstrators protesting the policies of President George W. Bush while the president spoke at a



 51
    Lamb v. City of Decatur, 947 F. Supp. 1261, 1267 (C.D. Ill. 1996) (concluding that the officers’ use of pepper spray
 on protestors could support a finding of excessive force that constitutes a seizure); Marbet v. City of Portland, No.
 CV 02–1448–HA, 2003 WL 23540258, at *10 (“By physically moving certain plaintiffs and circumscribing the area
 of movement of other plaintiffs, defendants seized plaintiffs within the meaning of the Fourth Amendment.”);
 Jennings v. City of Miami, No. 07-23008-CIV, 2009 WL 413110, at *8 (S.D. Fla. Jan. 27, 2009); Coles v. City of
 Oakland, No. C03-2961 TEH, 2005 WL 8177790, at *2 (N.D. Cal. Apr. 27, 2005).
 52
    Dundon v. Kirchmeier, No. 1:16-cv-406, 2017 WL 5894552, at *20 (D.N.D. Feb. 7, 2017), aff’d mem. 701 F. App’x
 538 (8th Cir.) (per curiam) (speculating no seizure occurred because the protestors were never arrested or affirmatively
 detained by the police).
 53
    Quraishi v. St. Charles Cnty., Missouri, 986 F.3d 831, 840 (8th Cir. 2021) (“This court did not consider whether
 the use of chemical agents alone is a seizure.”); Ellsworth v. City of Lansing, 34 F. Supp. 2d 571 (W.D. Mich.
 1998), aff’d, 205 F.3d 1340 (2000); Edrei v. City of New York, 254 F. Supp. 3d 565, 574 (S.D.N.Y. 2017), aff’d sub
 nom. Edrei v. Maguire, 892 F.3d 525 (2d Cir. 2018).


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 hotel in downtown Portland. Marbet, 2003 WL 23540258, at *10. The Portland Police Bureau

 used a loudspeaker to order protestors to move back 120 feet; plaintiffs and protestors allegedly

 ignored several orders to move, prompting officers to deploy pepper spray and move the crowd

 with force. Officers later fired rubber bullets at the demonstrators. In denying the motion to

 dismiss, the court reasoned that officers’ show of physical force and use of pepper spray each

 amounted to a seizure:

        Defendants used pepper spray and physical force to achieve [the dispersal order]. Clearly[,]
        the effect of defendants’ actions was to control plaintiffs’ movement. Additionally, certain
        plaintiffs assert that they were physically prevented from leaving an area cordoned off by
        the police. By physically moving certain plaintiffs and circumscribing the area of
        movement of other plaintiffs, defendants seized plaintiffs within the meaning of the Fourth
        Amendment.

 Id. at 10. Thus, it found dispositive that officers acted intentionally to restrain plaintiffs’ freedom

 of movement. The Marbet court relied upon Lamb v. City of Decatur, 947 F. Supp. 1261, 1265

 (C.D. Ill. 1996), which reviewed the City of Decatur’s motion for summary judgment in an action

 arising out of a demonstration, where officers sprayed pepper spray into the crowd of

 demonstrators. Lamb, 947 F. Supp. at 1265 (“This is not a typical excessive force case where the

 police were struggling with a fleeing felon or a rebellious prisoner. Instead, the police were

 monitoring a peaceful, lawful[,] and constitutionally protected demonstration.”). It denied

 summary judgment, reasoning that the complaint alleged facts that could support a finding of

 excessive force that constituted a seizure under the Fourth Amendment.

        Second, in Jennings, the Southern District of Florida found that plaintiffs sufficiently

 alleged that a seizure occurred where protestors alleged that they were peacefully observing,

 filming, or protesting when police opened fire on the demonstrators with tear gas, pepper spray,




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 shotgun-based projectiles, and other weapons.54 Jennings, 2009 WL 413110, at *7. The police

 officers began marching shoulder-to-shoulder, continuing to fire projectiles at the peaceful

 demonstrators and observers. The court found a seizure occurred because officers’ tactic as

 “herding,” creating “a large encirclement perimeter,” and used riot-clad officers to form “a

 skirmish line to force the demonstrators in a desired direction” evinced an intentional government

 termination of protestors’ freedom of movement. Id.

          Third, in accord with Jennings is a recent Floyd Caselaw action, Downes-Covington, where

 the District of Nevada reviewed a suit similar to the one presented here: demonstrators sought

 injunctive relief after being subjected to less-lethal force while protesting in the wake of Mr.

 Floyd’s death. A video documenting the event showed protestors retreating from a tank, which

 was flanked by two officers. Despite a dispersal order, some demonstrators were blocked: “[T]hey

 could not go forward over the freeway and could not go backward because police were blocking

 them.” Downes-Covington, 2020 WL 7408725, at *9. Protestors, in the video, are seen retreating

 away from the Interstate-15 on-ramp, mostly walking on the sidewalk, although due to the size of

 the crowd, some trickle onto the street where other officers are stationed. Id. While retreating,

 officers by the tank are seen firing some chemical irritant. The court found a cognizable seizure

 because the use of a tank corralling the protestors away from the on-ramp, while two or more

 officers blocked the street, suggested that protestors were seized. Id.




 54
    The Jennings court relied on Coles. Coles v. City of Oakland, No. C03-2961 TEH, 2005 WL 8177790, at *2 (N.D.
 Cal. Apr. 27, 2005). In Coles, the plaintiffs were demonstrators, legal observers, videographers, journalists, and
 dockworkers who were protesting the Iraq war. The Coles plaintiffs alleged that police officers fired projectiles into
 the crowd, charged the plaintiffs with motorcycles, and hit the plaintiffs with clubs. Id. They also alleged that the
 police herded them from the port area to the West Oakland BART station, a distance of more than a
 mile. Id. Defendants filed a motion to dismiss the plaintiffs’ Fourth Amendment claims, arguing that plaintiffs had not
 alleged a seizure. Id. at *4. The Coles court, relying in part on Marbet, found that plaintiffs had in fact been seized
 and noted that Defendants did more than just order the plaintiffs to disperse but “left Plaintiffs with only one available
 path by which to leave the scene and applied physical force to ensure that Plaintiffs followed that path.” Id. at *10.


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        Thus, a constitutionally redressable seizure can occur where officers use physical force to

 prevent protestors from coming any closer, such as by herding protestors, forming a skirmish line,

 or failing to provide a means of egress—where such governmental action is intentional and results

 in the termination of freedom of movement. Jennings, 2009 WL 413110, at *9 (finding a seizure

 where officers clad in riot gear aligned in a skirmish line to force demonstrators in the desired

 direction through the use of excessive force); see also Rauen v. City of Miami, No. 06-21182-CIV,

 2007 WL 686609, at *8 (S.D. Fla. Mar. 2, 2007) (“Plaintiffs’ freedom of movement was terminated

 by the deliberate use of force and skirmish lines to herd and then encircle Plaintiffs in an area in

 which they otherwise would not have been.”).

        This Court now asks whether the type of force used—chemical agents, less-lethal

 projectiles such as wooden knockers, and physical force—militates in favor of finding that a

 seizure occurred. The dispositive question is one of control: Did the police control Plaintiffs’ and

 protestors’ movement through the use of force intentionally applied? See Florida v. Bostick, 501

 U.S. 429, 435–36 (1991) (determining whether a seizure has occurred implicates the “coercive

 effect of the encounter” with police). Relevant factors that weigh in favor of a finding of a seizure

 of a person include the officer’s tone of voice, whether the officer displayed a weapon or handcuffs,

 wore a uniform, touched the individual without permission, or threatened or physically intimidated

 him. Id.

        Plaintiffs allege that throughout last summer’s protests, they were peacefully observing,

 providing medical aid, or protesting when Defendants, often clad in riot gear, exercised an

 indiscriminate use of chemical irritants, physical force, and other weapons. Given that the standard

 for injunctive relief is a likelihood of success, the Court finds that the evidence and testimony from




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 last year’s protests—explored summarily—suggest that Plaintiffs have met their burden as to the

 elements of a Fourth Amendment claim.

        Here, some protestors were subject to physical force and less-lethal projectiles without a

 means of escape or egress, as Ms. Carlock’s testimony shows. She and other protestors complied

 with orders to leave the street for the sidewalk. Once they got up on the sidewalk, Ms. Carlock

 recalled being “herded” by horse-mounted officers who “started pushing into the crowd.” (ECF

 No. 49 at 198). The protestors—again, now on the sidewalk—asked: “[W]hat do you want us to

 do, what are you doing, where are we allowed to go, like, where should we stand . . . And there

 was no response that we got from them.” (Id.). Towards Fifth Street, there were non-mounted

 police officers blocking the cross street and the mounted officers on the other side. (Id. at 198–99).

 The group of fifteen protestors was “pinned . . . into that small area.” (Id. at 199). Officers threw

 a tear gas canister toward the protestors on the sidewalk. (Id. at 199 (“And it was almost impossible

 to get out of that spot we were in.”)). The group ran into an alley that had mostly been blocked off

 by a delivery truck, permitting just one person at a time to squeeze between the alley wall and the

 truck. Ms. Wenning’s testimony is of similar legal import. She recalled walking away in an alley

 after hearing a dispersal order. (ECF No. 47 at 157 (“I was walking away, so I felt I was leaving

 the area.”)). Yet, a tear gas canister was thrown into the alley into which she dispersed.

        These circumstances are on all fours with Nelson—where officers deploy force and order

 dispersal but without a means of egress. Such restraint on movement amounts to a seizure. Nelson,

 685 F.3d at 882–83 (“Additionally, there is nothing in the record that indicates that the group was

 told prior to the shooting how they should comply with the dispersal orders (particularly when the

 officers were blocking their primary means of egress) or that force would be used against them if

 they did not behave in a particular manner.”).




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        CPD’s show of force during the Father’s Day Demonstration resulted in a similar

 termination of freedom. Mr. Bardus testified:

        So[,] they showed up on their bikes[,] and they shoved folks out of the street toward the
        sidewalk. They turned their bikes sideways and basically pushed people. I remember one
        protest[o]r, a woman, fell in the street, and the officer continued to push her with his bike
        while she was on the ground. Several officers continued to hamper their efforts by shoving
        them with their bikes.

 (ECF No. 50 at 66). Ms. Ruffin testified similarly, stating that bicycle officers came to “push and

 physically move us to the side to allow more officers to come in.” (ECF No. 46 at 110–11).

        A body-worn camera video shows a CPD supervisor instructing officers that “the group at

 Broad and High is going to move. They’re not going to stay there . . . Tell them to move . . . We

 are going to move them by any means necessary – reasonably necessary. Everybody got that? Get

 your mace ready.” (Pl.’s Ex. 123-A). Moments later, these same officers, now mounted on bikes,

 ride into individuals standing on the sidewalk, spraying chemical irritants broadly, without

 provocation. (Pl.’s Exs. 123-A, 123-B).

        Unfortunately, this use of bicycles was not the only way CPD exerted physical force. Recall

 that Ms. Mixon testified as follows: “And one of the officers pushed me down so hard off the curb

 . . . he stomped on my kneecap.” (ECF No. 47 at 74–75).

        It is not fatal to the sufficiency of the Fourth Amendment claim that Plaintiffs were not

 completely immobilized by CPD’s use of force. Rather, what is required is that a person’s freedom

 of movement had been terminated, not that the person’s movement itself had been terminated.

 Yelverton v. Vargo, 386 F. Supp. 2d 1224 (M.D. Ala. 2005) (“[Defendant’s] pepper[-]spraying of

 [Plaintiff] constituted a seizure even though it did not stop him.”). Even if a “citizen is able to walk

 or hobble away,” a seizure still lies, so long as there was an intentional application of physical

 force. Jennings, 2009 WL 413110, at *7. The impact that chemical irritants and less-lethal




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 projectiles, such as tear gas, pepper spray, and knee knockers had on the congregants also support

 Plaintiffs’ argument that they were seized. Young v. Cnty. of Los Angeles, 655 F.3d 1156, 1163

 (9th Cir. 2011) (explaining that pepper spray is “‘intermediate force’ that, while less severe than

 deadly force, nonetheless present[s] a significant intrusion upon an individual’s liberty interests”).

         Accordingly, even absent an arrest, the use of chemical spray and less-lethal projectiles can

 amount to is a cognizable restraint under the Fourth Amendment where the “clear[]” effect of

 officers’ use of pepper spray “was to control plaintiffs’ movement.” Marbet, 2003 WL 23540258,

 at *10; see also Hamilton v. City of Olympia, 687 F. Supp. 2d 1231, 1241 (W.D. Wash. 2009)

 (“[H]is freedom of movement was terminated in both instances after he was sprayed with pepper

 spray.”). Here, the impact of the pepper spray often literally rendered the protestor unable to move

 freely. And the evidence establishes much more than a minimal intrusion on the protestors’ bodily

 integrity; many of the protestors suffered disorientation or were otherwise physically impacted.

 (ECF No. 47 at 114 (recalling that sprayed protestors hit the ground and were screaming); Pl.’s

 Ex. 113 (showing a pepper-sprayed individual crawling away)).

         Projectiles like knee knockers also denied protestors of their movement. Plaintiff Hubby

 was standing on the sidewalk when, without audible warning, he was hit with a wooden munition.

 His knee went numb, and he was unable to stand independently, prompting about a dozen

 demonstrators to fashion a rental bicycle into a gurney to transport Mr. Hubby. (ECF No. 48 at

 234). Plaintiff Schultz was also hit with a knee knocker, which brought her to the ground. (ECF

 No. 49 at 127). She recalled: “I was struck with something so hard that it brought me to the ground.

 I went to get back up and I couldn’t . . . I went to take a step with my right leg[,] and it just dropped

 from underneath me. It was kind of like dead-legged . . . Every time I tried to get up, I would fall

 back down.” (Id. at 127–28). A friend swung Ms. Schultz’s right arm over her shoulder and helped




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 transport her to an alleyway. (Id.; see also ECF No. 49 at 28 (recalling “ducking,” “dodging”

 officers shooting projectiles at them while complying with a dispersal order)).

        This Court finds that Plaintiffs’ allegations are sufficient to set forth a likelihood of success

 on the merits that the deployment of less-lethal munitions constituted physical force that

 temporarily restrained the protestors. See Pluma v. City of New York, No. 13 CIV. 2017 LAP, 2015

 WL 1623828, at *4 (S.D.N.Y. Mar. 31, 2015) (same). The intentionality requirement of the Fourth

 Amendment seizure analysis is fulfilled since there is no dispute that the protestors were the target

 of police conduct when the officers held out their hands and sprayed the protestors

 indiscriminately. Ciminillo v. Streicher, 434 F.3d 461, 466 (6th Cir. 2006) (quoting Fisher v. City

 of Memphis, 234 F.3d 312, 318 (6th Cir. 2000)) (“[W]e emphasized that police officers seize those

 persons who are the ‘deliberate object of their exertion of force.’”). Regardless of officers’

 motives, their application of force terminated the protestors’ freedom of movement and constituted

 a seizure under the Fourth Amendment.

                                   (2) Reasonableness of Force

        A seizure results in a constitutional violation only if it is unreasonable. Graham v.

 Connor, 490 U.S. 386, 394 (1989). The reasonableness of a particular use of force should be

 judged from the perspective of a reasonable officer on the scene—not with the benefit of hindsight.

 Graham, 490 U.S. at 396. In addition, the Sixth Circuit has determined that a police officer may

 be responsible for another officer’s use of excessive force if the officer: (1) actively participated

 in the use of excessive force; (2) supervised the officer who used excessive force; or (3) owed the

 victim a duty of protection against the use of excessive force. Bletz v. Gribble, 641 F.3d 743, 754

 (6th Cir. 2011).




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         The objective reasonableness of a seizure depends upon a balancing of “the nature and

 quality of the intrusion on the individual’s Fourth Amendment interests against the importance of

 the governmental interests alleged to justify the intrusion.” Tennessee v. Garner, 471 U.S. 1, 8

 (1985)) (quoting United States v. Place, 462 U.S. 696, 703 (1983)).55

         Three factors must be used in determining the degree of force employed: (1) the nature or

 “severity” of the crime for which the suspect is charged; (2) whether the suspect poses any threat

 to the officers or others; and (3) whether the suspect has attempted or is likely to attempt to flee

 officers or to resist arrest. Whether the officer had other means of force available is not relevant to

 the inquiry. Lyons v. City of Xenia, 417 F.3d 565, 576 (6th Cir. 2005). The question is whether a

 reasonable officer would have known the actions used were objectively unreasonable, not that

 there existed a less intrusive means.56

         The first factor, the severity of the crime at issue, weighs heavily in Plaintiffs’ favor and

 against the use of force employed by the officers. Testimonial, video, and pictorial evidence

 establish that most congregants were peacefully protesting, observing, reporting, passing by, or

 providing medical aid when they fell victim to the use of these less-lethal munitions. The protests

 were mostly peaceful—the incident commander for CPD said as much on June 2, 2020: “99% of

 these people are peaceful . . . whether they’re yelling stuff at you or not, that’s still peaceful there

 if they’re not threatening you.” (Pl.’s Ex. 25). Even those Plaintiffs that were committing crimes—

 e.g., failure to disperse—were committing a minor misdemeanor under O.R.C. § 2917(d). While

 a legally punishable offense, failure to disperse is a minor infraction that justifies raised voices,


 55
    Prior to Garner and Graham, most § 1983 excessive-force cases were litigated under the substantive due process
 “shocks the conscience” theory. Defendants contend that the Fourth Amendment is inapposite here and that Plaintiffs
 must instead proceed under the Fourteenth Amendment.
 56
    While courts, including the Sixth Circuit, offer considerable deference to the apparent need for officers to make
 split-second judgments concerning the level of force necessary, scholarly commentary has questioned how much
 deference should be paid, particularly when the totality of the circumstances suggest there was time for thoughtful
 reflection. Ciminillo v. Streicher, 434 F.3d 461, 467 (6th Cir. 2006).


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 not raised weapons. See Black Lives Matter Seattle-King Cnty. v. City of Seattle, Seattle Police

 Dep’t, 466 F. Supp. 3d 1206, 1215 (W.D. Wash. 2020) (“At most, this evidence shows that

 Plaintiffs, and many protestors alike, were engaging in minor property crime and offered only

 passive resistance at the time they were attacked.”). That CPD felt the need to clear the streets

 might be legitimate. But in the absence of an actual exigency, these traffic concerns cannot

 legitimize the application of force when it is not otherwise justified. Nelson, 685 F.3d at 880.

        Moving to the second Graham factor, the threat analysis must be based on objective factors

 and not merely “a simple statement by an officer that he fears for his safety or the safety of others.”

 Nelson, 685 F.3d at 880. In this case, the protests were not overwhelmingly dangerous scenarios

 for officers clad in riot gear and armed with guns and other munition-deploying devices. And there

 is no allegation that these Plaintiffs engaged in any sort of destructive or harmful behavior aimed

 at the police. (Cf. Defs.’ Exs. 30—40, 56 (showing property damage but without any connection

 to the Plaintiffs or witnesses here)). “These are peaceful demonstrators, journalists, and medics

 who have been targeted with extreme tactics meant to suppress riots, not to suppress

 demonstrations.” Abay v. City of Denver, 445 F. Supp. 3d 1286, 1292 (D. Colo. 2020). Under the

 Plaintiffs’ allegations, the security threat posed by the protest was low. On the other hand, recent

 events in Washington, D.C., and across the nation emphasize the need for robust security,

 particularly of governmental buildings—which, of course, tend to be the locus of First Amendment

 activity. But the current record still presents unanswered questions as to whether the level of force

 applied was reasonable.

        Third, the factors that justify the use of force must be weighed against the degree of

 intrusion posed by the particular type of force to determine if the use in the particular instance was

 reasonable. The totality of the circumstances suggests objective unreasonableness: the disparity




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 between the threat posed by the protest and the degree of force is wide, and the Defendants have

 not pointed to the existence of a specific exigent circumstance justifying the use of non-lethal

 force. There is no evidence that the officers reasonably believed that Plaintiffs posed a risk to the

 officers or any other persons, and the group engaged in passive resistance, at most, by failing to

 disperse immediately if and when such an order was given.

        Many of these instances of force were without provocation or applied at random and

 indiscriminately. A video from May 30 shows a CPD officer deploying chemical spray against

 individuals who already appear to be suffering from a prior deployment of chemical spray. It shows

 officers in riot gear spray one individual in the intersection at point-blank range, and then the same

 officer pivots and sprays another individual in her face. (Pl.’s Ex. 112; see also Pl.’s Ex.117 (horse-

 mounted officers hurling tear gas canisters into the crowd; bicycle officers spraying chemical

 irritants at point-blank range); Pl.’s Ex.118 (same, from a different angle)). Another video shows

 a SWAT officer deploying chemical spray at point-blank range against two people standing on the

 sidewalk. (Pl.’s Ex. 107).

        There is a mountain of evidence that some protestors were confronted with less-lethal

 munitions while trying to follow police orders to leave the demonstrations. (See, e.g., Pl.’s Ex. 137

 (walking away while sprayed); Pl.’s Ex. 128 (spraying individuals as they walk away); Pl.’s Ex.

 147 (spraying individuals standing still or walking away); Pl.’s Ex. 101 (spraying Plaintiff Mixon

 while she walks on the sidewalk away from the officers); ECF No. 47 at 157 (“I was walking away,

 so I felt I was leaving the area,” before being subjected to tear gas)). See also Don’t Shoot Portland

 v. City of Portland, 465 F. Supp. 3d 1150, 1155 (D. Or. 2020) (finding a strong likelihood of

 success on the merits where tear gas was used against protestors trying to follow police orders and

 leave the demonstrations). Furthermore, the video evidence of police conduct shows that most of




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 the officers had ample time for reflection, often while the officers are actually talking with the to-

 be-sprayed individual. (See Pl.’s Exs. 140-A, 140-B (ignoring journalists’ statements that they

 were exempt from curfew); ECF No. 46 at 230 (striking a journalist with a wooden munition,

 though he bore his press badge)).

         Also militating strongly against a finding of reasonable force is that CPD routinely failed

 to give coherent dispersal instructions to protestors. Accordingly, Defendants’ reliance on Dundon

 v. Kirchmeier, No. 1:16-CV-406, 2017 WL 5894552, at *18 (D.N.D. Feb. 7, 2017), aff’d, 701 F.

 App’x 538 (8th Cir. 2017) is unpersuasive. There, Plaintiffs could have complied with lawful

 commands to disperse. Dispersal orders were either not provided or unintelligible. Witnesses

 testified to “muffled,” “garbled,” and “not very clear” orders preceding the deployment of sprays,

 munitions, or the exercise of physical force. (ECF No. 46 at 65; ECF No. 47 at 157; ECF No. 46

 at 32, 37, 58).

         Other times, the dispersal orders were given contemporaneously with the use of less-lethal

 crowd control devices. For a dispersal order to be meaningful, officers generally must give time

 for a dispersal order to be heeded before the use of force. (ECF No. 48 at 219–20 (stating that, at

 any rate, that he did not hear any message)). Similarly, Ms. Lamey was struck with a knee knocker

 four minutes after first hearing the dispersal announcement. Four minutes is not enough time for

 congregants to comply with officers’ orders. Officers sometimes rode their horses or bikes into

 crowds while giving a dispersal order—a constitutionally deficient dispersal order given that there

 was little time to comply. This, too, tracks Nelson’s logic. A dispersal order given moments before

 the exercise of force demonstrates a likelihood of success on whether there was an unreasonable

 use of force. Nelson, 685 F.3d at 881 (noting the object of the police force “certainly could not

 have been expected to comply with instructions that were never given to him.”).




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         While it is undisputed that there were individuals hurling both bottles and provocative

 expletives at officers, Defendants do not allege that Plaintiffs were among them. Nor do

 Defendants claim that the individuals causing the problems were so numerous that the two

 categories of demonstrators were indistinguishable. The application of force to Plaintiffs,

 therefore, could not have been justified by the government’s interest in stopping any disorderly

 behavior. Nor, even if this Court were to consider all the demonstrators as a single entity, was the

 desire to clear the area a sufficient justification for employing the force used by the government—

 the firing of less-lethal force, resulting in this instance in serious and permanent injuries to multiple

 individuals. This force resulted in substantially more than a minimal intrusion and was not justified

 by the governmental interest in dispersing a group of peaceful protestors and congregants who

 could most likely be dispersed by less forceful means.

         This Court, therefore, concludes that the force used by the government was unreasonable

 and resulted in a violation of the Plaintiffs’ Fourth Amendment rights. Defendants’ conduct—

 specifically, the reliance on the use of less-lethal force during the protests—is so excessive as to

 constitute a violation of constitutional rights, thus raising the specter of imposing liability under

 § 1983. Nelson, 685 F.3d at 874. There may later be questions of qualified immunity to grapple

 with, but Plaintiffs have established a strong likelihood of success that Defendants engaged in

 excessive force contrary to the Fourth Amendment. Abay v. City of Denver, 445 F. Supp. 3d 1286,

 1292 (D. Colo. 2020) (finding strong a likelihood of excessive force in protestor after Mr. Floyd’s

 killing).

                                  b. First Amendment (Retaliation)

         “[T]he First Amendment safeguards an individual’s right to participate in the public debate

 through political expression and political association.” McCutcheon v. Fed. Election Comm’n, 572




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 U.S. 185, 203 (2014). “Organized political protest is a form of ‘classically political speech.’” Don’t

 Shoot Portland, 465 F. Supp. 3d at 1155 (quoting Boos v. Barry, 485 U.S. 312, 318 (1988)). And

 this protection includes criticism of public officials even when it is “vehement, caustic, and

 sometimes unpleasantly sharp.” Leonard v. Robinson, 477 F.3d 347 (6th Cir. 2007) (internal

 citations omitted).

         To establish a First Amendment retaliation claim, plaintiffs must show that: (1) they were

 engaged in a constitutionally protected activity; (2) the defendant’s actions would chill a person of

 ordinary firmness from continuing to engage in the protected activity; and (3) the protected activity

 was a substantial or motivating factor in the defendant’s conduct. Martin v. Brown-Clark, 76 F.

 App'x 701, 706 (6th Cir. 2003). At this stage, Plaintiffs have made a clear showing of all three

 elements.

         First, Plaintiffs show that they were engaged in the constitutional right to protest police

 brutality. They exercised their right in public fora. On this record, their protests have been

 passionate but peaceful, and they must thus be protected even if they stand in opposition to the

 police. The video and testimonial evidence reveal as much. Both parties agree that some

 demonstrators were violent, launching objects at the police. This, no doubt, poses a serious threat

 to officer life and safety. But, as to these protestors, per Collins v. Jordan, 110 F.3d 1363, 1371

 (9th Cir. 1996): “[T]he proper response to potential and actual violence is for the government to

 ensure an adequate police presence, and to arrest those who actually engage in such conduct, rather

 than to suppress legitimate First Amendment conduct as a prophylactic measure.” 110 F.3d at

 1372.

         Second, CPD’s use of less-lethal crowd-control weapons has surely chilled speech.

 Exposure to tear gas and pepper spray is extremely painful, as are projectiles lobbed into the crowd,




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 which resulted in lasting and serious physical injuries. Though “less lethal,” these devices have

 been sufficient to deter some protestors from protesting again. “Ordinary firmness” is an objective

 standard that will not “allow a defendant to escape liability for a First Amendment violation merely

 because an unusually determined plaintiff persists in his protected activity.” Mendocino Envtl. Ctr.

 v. Mendocino Cnty., 192 F.3d 1283, 1300 (9th Cir. 1999).

        Third, Plaintiffs have demonstrated a likelihood of success on the merits that the nature of

 the protests was a substantial or motivating factor in CPD’s use of less-lethal force on nonviolent

 protestors. CPD characterized the protests as antipolice, and division personnel echoed that

 message throughout the duration of the protests. Recall then-Chief Quinlan’s June 2, 2020 roll call

 speech to officers: “And if you go one step too far one way, you end up aggravating or provoking

 a situation. And with the situation when we’re the focus of the protest, we can’t afford to be the

 ones that create that provocation. We just can’t . . . It’s a lot easier when they’re protesting

 something else.” (Pl.’s Ex. 25 (emphasis added); Pl.’s Ex. 4 (citing Quinlan Aff. ¶ 6) (“The police

 were the focus of the protests.”)). This attitude seeped its way into the treatment of individuals in

 the vicinity of the protest, most notably, Plaintiff Mixon, the non-protestor who traveled downtown

 to find her 21-year-old daughter. Ms. Mixon testified that a CPD officer pushed her off of the curb,

 stomped on her left kneecap [breaking it], and stated to her: “That’s what you get for being down

 here, you black, protesting bitch.” (ECF No. 47 at 74–75).

        The use of force on nonviolent protestors and congregants raises a serious question if

 officers acted in reaction to the protests’ antipolice message and aimed to intimidate protestors to

 deter such speech. This is especially so because the allegations and evidence submitted appear to

 show that at least some Plaintiffs—peaceful protestors or passersby—were targeted and not

 inadvertently hit.




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          This evidence supports a finding that Plaintiffs have made a showing of a likelihood of

 success of the merits on their First Amendment claim.

                                      c. Municipal Liability under Monell

          Local governments may not be sued under 42 U.S.C. § 1983 for an injury inflicted solely

 by employees or agents under a respondeat superior theory of liability. See Monell, 436 U.S. at

 691. “Instead, it is when execution of a government’s policy or custom, whether made by its

 lawmakers or by those whose edicts or acts may fairly be said to represent official policy, inflicts

 the injury that the government as an entity is responsible under § 1983.” Id. at 694. A municipality

 can therefore be held liable when it unconstitutionally “implements or executes a policy statement,

 ordinance, regulation, or decision officially adopted by that body’s officers.” Id. at 690; DePiero

 v. City of Macedonia, 180 F.3d 770, 786 (6th Cir. 1999).57

          To demonstrate Monell liability, one must: (1) identify the policy or custom; (2) connect

 the policy to the governmental entity; and (3) show causality—i.e., that an injury of a constitutional

 magnitude occurred because of that policy or custom’s execution. Alkire v. Irving, 330 F.3d 802,

 815 (6th Cir. 2003) (internal citations omitted).58 Of these, courts’ analyses hinge on the proof of

 an illegal policy or custom. There are four ways a plaintiff may prove the existence of a

 municipality’s illegal policy or custom: “(1) the existence of an illegal official policy or legislative

 enactment; (2) that an official with final decision-making authority ratified illegal actions; (3) the

 existence of a policy of inadequate training or supervision; or (4) the existence of a custom of




 57
    The term “policy” has been defined broadly as a deliberate choice to follow a course of action made from various
 alternatives by the official or officials responsible for establishing final policy with respect to the subject matter in
 question. Arsan v. Keller, 784 F. App’x 900, 917 (6th Cir. 2019).
 58
    Defendants contend that Plaintiffs have failed to identify a policy or custom that authorizes officers to use excessive
 force against nonviolent protestors or to retaliate against them based on their assembly and expression. (ECF No. 10
 at 23). Defendants further argue that even if Plaintiffs could identify such a policy or custom, their claims against the
 City would still fail because they cannot establish causation or culpability sufficient for municipal liability.


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 tolerance or acquiescence of federal rights violations.” Burgess v. Fischer, 735 F.3d 462, 478 (6th

 Cir. 2013). Each of these four sub-prongs is addressed, in turn, below:

                        (1) Illegal Official Policy or Legislative Enactment

         The easiest (and thus rarest) sort of Monell case is one where there is a written

 unconstitutional policy. Defendants argue that Plaintiffs do not identify any written policy that

 directs or allows Columbus police officers to use excessive force of any kind or to retaliate against

 protestors on the basis of their speech and assembly. (ECF No. 10 at 23). Plaintiffs acknowledge

 that they do not challenge “a single, particular City or CPD policy.” (ECF No. 6 at 19). While

 Plaintiffs do cite numerous policies, which they characterize as problematic or illegal, Plaintiffs

 focus primarily on the remaining three sub-prongs of municipal liability, and this Court follows

 suit.

          (2) Actions by Officials with Final Decision-Making Authority & Ratification

         The second type of Monell liability involves a showing of an illegal policy or custom by

 demonstrating that an official with final decision-making authority ratified illegal actions. Lipman

 v. Budish, 974 F.3d 726, 747 (6th Cir. 2020). To establish a § 1983 claim against a municipality

 based on the ratification theory, a municipal official with the final policymaking authority must

 approve the subordinate’s decision and the basis for it. Killinger v. Johnson, 389 F.3d 765, 772

 (7th Cir. 2004). The ratification theory of municipal liability does not require proof of a pattern or

 custom. Wilson v. Louisville-Jefferson Cnty. Metro Gov’t & Brett Hankison, No. 3:19-CV-00739-

 CRS, 2020 WL 981717, at *2, 2020 U.S. Dist. LEXIS 34437, at *4–6 (W.D. Ky. Feb. 26, 2020).

 Instead, ratification of a single violative act is enough for municipal liability to attach. Pembaur v.

 City of Cincinnati, 475 U.S. 469, 480 (1986). An official acting with the final decision-making

 authority may ratify the unconstitutional acts of its employees in two ways. The first is through




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 “affirmative approval of a particular decision made by a subordinate.” Feliciano v. City of

 Cleveland, 988 F.2d 649, 650 (6th Cir. 1993). The second is by “failing to meaningfully investigate

 and punish allegations of unconstitutional conduct.” Wright v. City of Euclid, 962 F.3d 852, 882

 (6th Cir. 2020); see also Wilson, 2020 WL 981717, at *2 (“[T]he Sixth Circuit has held that

 municipal liability may attach when an official with final decision-making authority and a duty to

 know and act upon unconstitutional conduct fails to investigate or correct the unconstitutional

 conduct.”).

        Here, Plaintiffs assert that then-Chief Quinlan was the final policymaker on police practices

 and provided the “marching orders” to quell the protests, rather than just to prevent a riot—and

 that resulted in their constitutional violations. As for proof, Plaintiffs claim that in Columbus, a

 pattern or practice has long existed of flouting the letter or spirit of CPD policies against excessive

 use of force, favoring the right to protest, or racially discriminating. What happened to Plaintiffs

 and other protestors went beyond that pattern or practice because the then-Chief issued the policies

 the officers were implementing against Plaintiffs and other protestors.

        Assuming Plaintiffs’ allegations are true—that police were armed with military-grade

 equipment and had a green light to spray pepper spray, deploy tear gas, and fire wooden pellets to

 inflict pain as a deterrent—then, the consistency of officers’ alleged actions supports the assertion

 that officers were implementing CPD customs or policies. In other words, this Court finds that

 Plaintiffs have shown a likelihood of success on the merits of a Monell claim, insofar as it is

 premised upon ratification of illegal actions by officials with final decision-making authority.

                              (3) Failure to Supervise and Discipline

        Plaintiffs assert that Columbus police officers received minimal and ineffective training

 from Defendants City and CPD Chief and were subject to vague, ineffective, and rarely enforced




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 policies regarding the need to handle protestors without using force or using the least amount of

 non-lethal force necessary. (ECF No. 6 at 4). This is essentially an allegation of omission—that

 Defendants had a “custom” of failing to supervise and discipline. A custom, for purposes

 of Monell liability, must “be so permanent and well settled as to constitute a custom or usage with

 the force of law.” Monell, 436 U.S. at 691. It must reflect a course of action deliberately chosen

 from among various alternatives. City of Oklahoma v. Tuttle, 471 U.S. 808, 823 (1985).

        This contention, Defendants retort, is also unsupported. True, Defendants admit that

 inadequate police training and supervision can demonstrate an improper policy or custom for

 purposes of municipal liability—but only when the purported failures to train or supervise amount

 to deliberate indifference to the rights of persons with whom the police come into contact. (ECF

 No. 10 at 27). Defendants insist that Plaintiffs cannot show that the training or supervision of

 Columbus police officers was, or is, lacking or inadequate because all officers receive extensive

 training, which includes instruction on community diversity and the inappropriateness of biased-

 based profiling. With respect to the use of chemical spray, sworn officers are not permitted to carry

 chemical spray until training and qualification standards have been satisfied. (ECF No. 10 at 28).

        Plaintiffs identify multiple deficiencies and inadequacies in CPD’s use-of-force or civil

 disorder and crowd control training or supervision. For example, the crowd-control training

 instructed that not all protestors standing with their hands raised were peaceful, that children and

 the elderly were pawns and shields, that volunteers distributing water on a hot day were fomenting

 violence, and that protestors wearing protective gear for fear of CPD force were “not actually

 nonviolent,” so officers needed to be “mentally prepared to use force” against them. (Mabry Aff.

 ¶¶ 5278−81, 5287−88). CPD’s directives and instructions for its officers to collectively punish




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 nonviolent demonstrators, even though using the force they had been trained to use, was palpably

 excessive.

        As to discipline, even though the Mayor and then-Chief admitted officers’ video-recorded

 conduct was improper, there have been zero reports by officers of excessive force by others during

 the protests, zero disciplinary actions or criminal charges for excessive force, and zero efforts to

 relieve violent officers from duty or to remove them from special response teams. (ECF No. 63 at

 8).

        Plaintiffs have also demonstrated a likelihood of success on the merits of Monell liability

 based upon failure to supervise or discipline.

                            (4) Custom or Tolerance of Acquiescence

        Finally, to proceed on an “inaction theory” of liability—i.e., a custom or tolerance of

 acquiescence—a plaintiff must show:

        (1) the existence of a clear and persistent pattern of [illegal activity]; (2) notice or
        constructive notice on the part of the [defendant]; (3) the [defendant’s] tacit approval of
        the unconstitutional conduct, such that their deliberate indifference in their failure to act
        can be said to amount to an official policy of inaction; and (4) that the [defendant’s] custom
        was the ‘moving force’ or direct causal link in the constitutional deprivation.

 Stanfield v. Lima, 727 F. App’x 841, 851 (6th Cir. 2018) (quoting another source).

        One instance of potential misconduct is insufficient to show a clear and persistent pattern

 of constitutional violations. Stewart v. City of Memphis, 788 F. App’x 341, 347 (6th Cir. 2019).

 Such a pattern, however, is shown by “enough similar incidents” sufficient to put officials on

 notice that persons “would be subject to constitutional deprivation” if the problem is not

 remedied. See Leach v. Shelby Cnty. Sheriff, 891 F.2d 1241, 1247 (6th Cir. 1989). For instance,

 in Lipman v. Budish, the Sixth Circuit held that allegations of six different instances in which

 county officials interviewed a potential child abuse victim in the presence of her alleged abusers




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 were “enough to draw the reasonable inference that this custom [of interviewing potential abuse

 victims in the presence of their alleged abusers] was widespread throughout [the County Division

 of Children and Family Services] and known to policymakers within the county.” 974 F.3d 726,

 748 (6th Cir. 2020). Therefore, the court decided these allegations were sufficient to survive a

 motion to dismiss. Id.

        The required showing is that the “evidence must show that the need to act is so obvious”

 that the “conscious decision not to act” amounts to a “policy of deliberate indifference” toward the

 Plaintiffs’ constitutional rights. Doe v. Claiborne Cnty., Tenn. By & Through Claiborne Cnty. Bd.

 of Educ., 103 F.3d 495, 508 (6th Cir. 1996). Deliberate indifference requires “proof that a

 municipal actor disregarded a known or obvious consequence of his action.” Miller v. Calhoun

 Cnty., 408 F.3d 803, 815 (6th Cir. 2005). This “requires proof that the municipality was aware of

 prior unconstitutional actions by its employees and failed to take corrective measures.” Id.

        In the present case, Plaintiffs allege that the City has an unwritten policy, practice, or

 custom of condoning the use of excessive force against some protestors, such as those protesting

 police violence. They argue specifically that the use of excessive force and the quelling of speech

 by police during peaceful protests demonstrated Defendants’ deliberate indifference in the

 policies, training, supervision, and discipline needed to prevent officers and mutual-aid law

 enforcement personnel from violating constitutional rights. This alleged failure to investigate or

 discipline, or to make any meaningful policy reforms, suggests a conscious choice to allow the

 pattern of alleged conduct to continue.

        Plaintiffs also allege that Defendants’ custom of acquiescence was the cause of their

 injuries. The Sixth Circuit has held that a municipality’s failure to act in the face of obvious




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 constitutional violations is properly treated as the cause of subsequent, similar violations. Leach,

 891 F.2d at 1248.

        Defendants state that Plaintiffs have failed to provide any evidence of a pattern or practice

 of CPD using excessive force on nonviolent protestors or retaliating against them on the basis of

 their speech and assembly. As a legal matter, Defendants concede that a failure to discipline or

 investigate can demonstrate a municipal policy or custom “if the plaintiff can show that the

 municipality historically failed to investigate or discipline similar conduct such that the

 municipality’s inaction represents an unofficial custom or tolerance.” (ECF No. 10 at 25 (citing

 Bear v. Del. Cnty., Case No. 2:14-cv-00043, 2016 U.S. Dist. LEXIS 6537, at *38 (S.D. Ohio Jan.

 20, 2016))). But Defendants assert that Plaintiffs’ claim still is insufficient because, per Sherrod v.

 Williams, “an after-the-fact approval of an officer’s conduct cannot logically be the moving force

 behind the constitutional violation.” 2019 U.S. Dist. LEXIS 8915, at *70−71 (S.D. Ohio Jan. 15,

 2019) (citing another source).

        Accepting Plaintiffs’ allegations as true, it is at least plausible that CPD’s alleged failure

 to act on city officials’ knowledge of potential constitutional violations over the course of several

 days of protests was the “moving force” behind subsequent violations of the same type. Therefore,

 in addition to the “ratification” theory of liability, Plaintiffs have also adequately pled all four

 elements of the “inaction theory” of municipal liability under Monell.

        Thus, even though the mayor and then-Chief Quinlan admitted officers’ video-recorded

 conduct was improper, there have been zero reports by officers of excessive force by others during

 the protests, zero disciplinary actions or criminal charges for excessive force, and zero efforts to

 relieve violent officers from duty or remove them from special response teams. (ECF No. 59).




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                                  (5) Finding on Monell Factors

        The video and testimonial evidence presented by Plaintiffs suggests that police have used

 physical violence, tear gas, and pepper spray against peaceful protestors without provocation, and

 city officials have done nothing or not enough to condemn and correct these actions. This evidence

 leads to the inference that Plaintiffs have a likelihood of success in establishing that

 unconstitutional conduct by police was carried out pursuant to an official policy or custom.

                                         2. Irreparable Harm

        Irreparable harm is nearly as crucial as the success factor: “Our frequently reiterated

 standard requires plaintiffs seeking preliminary relief to demonstrate that irreparable injury is

 likely in the absence of an injunction.” Winter, 555 U.S. at 22−24. “The loss of First Amendment

 freedoms, for even minimal periods of time, unquestionably constitutes irreparable injury.” Elrod

 v. Burns, 427 U.S. 347, 373 (1976).

        Here, Defendants argue that: (1) it is likely that Plaintiffs will again be subject to the alleged

 unconstitutional conduct; (2) their delay in seeking an injunction further undercuts their argument

 that they will suffer irreparable harm without it; (3) when a defendant voluntarily ceases the alleged

 offending conduct, a cognizable danger of recurrent violation is not shown; and (4) Plaintiffs have

 not shown irreparable injury because they do not actually attempt to enjoin unconstitutional

 policies (this basically appears to be an overbreadth argument). (ECF No. 10 at 34).

        This Court finds that Plaintiffs have demonstrated irreparable harm. Protests combatting

 police brutality against Black Americans have proven cumulative. Protests are inherently ongoing,

 and it is often difficult to tell where one protest ends and the next begins. There is nothing in the

 record that indicates that upon another protest, Plaintiffs will not experience further constitutional

 deprivations and physical harm at the hands of the police. Indeed, Plaintiffs and witnesses have




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 attended multiple protests and were twice subject to problematic police treatment. Because “a

 constitutional right is being threatened or impaired, a finding of irreparable injury is

 mandated.” Bonnell v. Lorenzo, 241 F.3d 800, 809 (6th Cir. 2001).

                                       3. Balance of the Equities

            When considering the third factor, the balance of equities, a court “must balance the

 competing claims of injury” and “consider the effect on each party of the granting or withholding

 of the requested relief.” Winter, 555 U.S. at 24 (internal quotations omitted). Police officers are

 often faced with dangerous and rapidly evolving situations while trying to enforce the law and

 maintain the safety of the public. And, societally, we have determined it is important that police

 officers have non-lethal options to use to protect themselves and the public when necessary. Most

 protests tend to have an element of violence or destruction—and even when nonviolent, they are,

 by definition, disruptive. The locus of First Amendment activity often is public buildings, the risk

 of a protest overflowing—intentionally or not—into the citadels of republican democracy is non-

 trivial.

            Recent events—including the January 6 attempted insurrection at Capitol Hill, the breach

 of Governor Inslee’s mansion in Washington on the same day, the December 2020 armed break-

 in to the Oregon state capitol, armed protestors rallying inside the Michigan Statehouse last May,

 a recent break-into Bellingham City Hall—reify the extent to which many of us rely on police

 officers to keep our communities and those who serve the government safe. But the relief that

 Plaintiffs request leaves open all lawful options for police to use reasonable force when necessary

 to defend against a threat and to make arrests when supported by probable cause. And any possible

 benefit police officers could gain from deploying chemical agents, projectiles, or striking weapons




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 against demonstrators who pose no threat and are not resisting lawful commands is outweighed by

 the irreparable harm peaceful protestors could face.

                                          4. Public Interest

        The final factor, the public interest, also weighs in favor of an injunction. “It is always in

 the public interest to prevent the violation of a party’s constitutional rights.” Connection Distrib.

 Co. v. Reno, 154 F.3d 281, 288 (6th Cir. 1998) (quoting G & V Lounge, Inc. v. Mich. Liquor

 Control Comm’n, 23 F.3d 1071, 1079 (6th Cir. 1994)). Because the Plaintiffs have established a

 likelihood of success on the merits of their constitutional claims, an injunction to prevent further

 irreparable constitutional harm is in the public interest.

                                 5. Scope of Preliminary Injunction

        Having found that a preliminary injunction is warranted, this Court turns to the scope of

 the injunctive relief. This Court hereby ORDERS the following:

        (1) Defendants are restrained from using non-lethal force, including tear gas, pepper spray,

 flash-bang grenades, rubber bullets, wooden pellets, batons, body slams, pushing or pulling, or

 kettling, on nonviolent protestors to enforce dispersal orders, traffic laws, such as clearing the

 streets or sidewalks, and/or misdemeanors, that were not committed with actual or imminently

 threatened physical harm or property destruction;

        (2) Defendants are required to recognize that, for purposes of the injunction, “nonviolent

 protestors” includes individuals who are chanting, verbally confronting police, sitting, holding

 their hands up when approaching police, occupying streets or sidewalks, and/or passively resisting

 police orders;




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        (3) Defendants may only enforce dispersal orders, traffic laws, such as clearing the streets

 or sidewalks, or misdemeanor enforcement, to the extent practicable, through citations or arrests,

 based on probable cause that an individual has committed a violation;

        (4) Defendants are prohibited from using the infliction of pain to punish or deter

 “nonviolent protestors” and are directed to limit infliction of pain on any protestor when incidental

 to a use of force necessary for preventing crimes committed with actual or imminently threatened

 physical harm or property destruction and/or arresting, based on probable cause, an individual who

 allegedly committed such an offense;

        (5) Defendants must ensure that body and vehicle cameras are in good working order and

 used during every interaction with “nonviolent protestors” and badge numbers and/or identity

 cards are prominently displayed in each such interaction, even when riot gear is being worn;

        (6) Defendants must recognize that individuals legitimately displaying “press,” “media,”

 “reporter,” “paramedic,” “medic,” “legal observer,” or similar words and/or symbols are permitted

 to be present in a position enabling them to record at protests and/or to intervene to assist

 individuals who appear to have been injured and that all individuals, regardless of their occupation

 or nonviolent activity, are permitted to record at protests or whenever any police officer interacts

 with the public; and

        (7) The City of Columbus and its Division of Police must request that mutual aid law

 enforcement personnel to cooperate with them adhere to the foregoing restraints or standards on

 the use of non-lethal force and enforcement, infliction of pain, cameras and identification, and

 recognition of “nonviolent protestors” and individuals assisting or observing them.




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                                          V. CONCLUSION

        For the reasons set forth above, this Court GRANTS Plaintiffs’ Motion for Preliminary

 Injunction because: (1) they have standing to sue and the matter is not moot; (2) they have

 demonstrated a likelihood of success on their Fourth Amendment excessive-force claim, First-

 Amendment retaliation claim, and the municipal-liability factors under Monell; (3) they have

 established irreparable injury because protests, especially against police brutality, are inherently

 ongoing; (4) the balance of the equities tilts in Plaintiffs’ favor; and (5) the public interest weighs

 in favor of an injunction because it seeks to prevent the violation of constitutional rights.

        IT IS SO ORDERED.


                                                ALGENON L. MARBLEY
                                                CHIEF UNITED STATES DISTRICT JUDGE
 DATED: April 30, 2021




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